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 77                         UNITED
                            UNITED STATES DISTRICT COURT
                                   STATES DISTRICT COURT
                           CENTRAL DISTRICT
                           CENTRAL  DISTRICT OF
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                                                CALIFORNIA
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 99   IN RE:
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                 HYUNDAI VEHICLE
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10
10    PRACTICES, AND
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                                                                         V. Selna
                                                                            Selna
11    LIABILITY LITIGATION
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11                                                   GOVERNMENTAL
                                                     GOVERNMENTAL ENTITIES’
                                                                     ENTITIES'
      This document relates
      This document relates to:
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                                                     OPPOSITION    DEFENDANTS’
                                                                TO DEFENDANTS'
12
12                                                   MOTION
                                                     MOTION FOR
                                                             FOR INTERLOCUTORY
                                                                 INTERLOCUTORY
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13          GOVERNMENTAL ENTITIES
            GOVERNMENTAL ENTITIES                    APPEAL AND
                                                     APPEAL AND STAY
                                                                STAY
            TRACK
            TRACK
14
14                                                   Hearing Date:
                                                     Hearing Date: January 22, 2024
                                                                   January 22, 2024
                                                     Hearing Time:
                                                     Hearing        1:30 p.m.
                                                             Time: 1:30  p.m.
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                                           Litig.,
11
11      469 F. Supp.
        469 F.       2d 134
               Supp. 2d  134 (S.D.N.Y.
                             (S.D.N.Y. 2007)
                                         2007) ................................................................55
12
12    Zamani v.
      Zamani    Carnes,
             v. Carnes,
        491 F.3d 990
        491 F.3d     (9th Cir.
                 990 (9th      2007) ............................................................................ 18
                          Cir. 2007)                                                                              18
13
13
      Statutes
      Statutes
14
14
      28 U.S.C.
      28 U.S.C. §§ 1292(b)
                   1292(b) .......................................................................................passim
                                                                                                                  passim
15
15
      RCW 7.48.120
      RCW 7.48.120 ...................................................................................................... 10
                                                                                                                          10
16
16
      Other Authorities
      Other Authorities
17
17
      Melissa J.
      Melissa J. Whitney, Bellwether Trials
                 Whitney, Bellwether    Trials in     MDL Proceedings:
                                                  in MDL       Proceedings: A        A Guide
                                                                                        Guide
18
18
        for Transferee
       for             Judges ...................................................................................... 17
            Transferee Judges                                                                                        17
19
19
      Restatement (Second)
      Restatement (Second) of
                           of Torts
                              Torts § 324A ........................................................... 13,
                                    § 324A                                                             13, 15
                                                                                                           15
20
20

21
21

22
22

23
23

24
24
                                                                    Vv
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                                                GOVERNMENTAL  ENTITIES’ OPP’N
                                                                                GOVERNMENTAL ENTITIES'  OPP'N
                                                                             TO
                                                                             TO INTERLOCUTORY
                                                                                INTERLOCUTORY APPEAL
                                                                                              APPEAL && STAY
                                                                                                        STAY
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 11                                    I.
                                       I.     INTRODUCTION
                                              INTRODUCTION
22             In cities
               In        and counties
                  cities and          across the
                             counties across the country, Hyundais and
                                                 country, Hyundais and Kias
                                                                       Kias continue to be
                                                                            continue to be stolen
                                                                                           stolen
33    at historic
      at historic rates,
                  rates, driven recklessly, and
                         driven recklessly, and used
                                                used to
                                                     to commit
                                                        commit crimes, all of
                                                               crimes, all    which threaten
                                                                           of which threaten the
                                                                                             the
 44   safety
      safety of the public
             of the public in
                           in communities nationwide. Rather
                              communities nationwide. Rather than
                                                             than efficiently litigating the
                                                                  efficiently litigating the
 55   claims brought by
      claims brought by the
                        the GE Plaintiffs’1 to
                            GE Plaintiffs'  to remedy
                                               remedy the
                                                      the public
                                                          public safety
                                                                 safety crisis Defendants
                                                                        crisis Defendants
 66   caused, Defendants attempt
      caused, Defendants attempt to
                                 to manufacture
                                    manufacture aa basis
                                                   basis for
                                                         for interlocutory
                                                             interlocutory review
                                                                           review and
                                                                                  and further
                                                                                      further
 77   delay by mischaracterizing
      delay by mischaracterizing the
                                 the Court’s reasoning and
                                     Court's reasoning and Order
                                                           Order on the GE
                                                                 on the    Plaintiffs’
                                                                        GE Plaintiffs'
 8
 8    negligence claims
      negligence        and rehashing
                 claims and rehashing arguments
                                      arguments against
                                                against their
                                                        their nuisance claims.22 Defendants'
                                                              nuisance claims.   Defendants’
 99   arguments remain
      arguments remain meritless
                       meritless and
                                 and should be rejected,
                                     should be           again.33
                                               rejected, again.
10
10             In their
               In their motion,
                        motion, Defendants
                                Defendants fail
                                           fail to
                                                to satisfy any of
                                                   satisfy any    the three
                                                               of the three prerequisites
                                                                            prerequisites for
                                                                                          for
11
11    interlocutory review.
      interlocutory review. Additionally,
                            Additionally, they
                                          they do not argue
                                               do not argue that
                                                            that this
                                                                 this case presents the
                                                                      case presents the type
                                                                                        type of
                                                                                             of
12
12    exceptional
      exceptional circumstances that could
                  circumstances that       justify aa departure
                                     could justify              from the
                                                      departure from the standard
                                                                         standard course
                                                                                  course of
                                                                                         of
13
13    appellate review.
      appellate review. Nor
                        Nor do they attempt
                            do they attempt to
                                            to meet
                                               meet the
                                                    the high
                                                        high burden
                                                             burden for
                                                                    for aa stay
                                                                           stay or
                                                                                or offer any
                                                                                   offer any
14
14    explanation for why
      explanation for why discovery
                          discovery on the claims
                                    on the        that are
                                           claims that are not
                                                           not the
                                                               the subject
                                                                   subject of their requested
                                                                           of their requested
15
15    review should
      review        be delayed
             should be         in any
                       delayed in any way.
                                      way. Defendants'
                                           Defendants’ motion
                                                       motion should be denied
                                                              should be        in its
                                                                        denied in its entirety.
                                                                                      entirety.
16
16             Specifically, Defendants seek
               Specifically, Defendants      review of
                                        seek review    twelve questions:
                                                    of twelve            whether, under
                                                              questions: whether, under the
                                                                                        the
17
17    respective laws
      respective laws of five jurisdictions
                      of five jurisdictions (Indiana,
                                            (Indiana, Missouri,
                                                      Missouri, New
                                                                New York,
                                                                    York, Ohio, and Wisconsin),
                                                                          Ohio, and Wisconsin),
18
18    “a tort
      "a tort duty to protect
              duty to protect against
                              against third-party
                                      third-party criminal
                                                  criminal conduct
                                                           conduct can be based
                                                                   can be based solely
                                                                                solely on the
                                                                                       on the
19
19
      1
20
20      “GE Plaintiffs"
      1 "GE  Plaintiffs” refers
                         refers to
                                to the
                                   the seventeen
                                       seventeen cities  in the
                                                  cities in the Consolidated
                                                                Consolidated Governmental     Entities
                                                                               Governmental Entities
        Complaint   (“CGEC”): Indianapolis,
        Complaint ("CGEC"):      Indianapolis, Indiana;
                                               Indiana; Baltimore,
                                                          Baltimore, Maryland;
                                                                     Maryland; Kansas
                                                                                 Kansas City   and St.
                                                                                          City and St.
21
21      Louis, Missouri;  Buffalo,  New   York, Rochester,    Tonawanda,    and Yonkers,
        Louis, Missouri; Buffalo, New York, Rochester, Tonawanda, and Yonkers, New York;  New   York;
        Cincinnati,
        Cincinnati, Cleveland,
                     Cleveland, Columbus,    and Parma,
                                 Columbus, and   Parma, Ohio;
                                                           Ohio; Seattle,
                                                                  Seattle, Washington;
                                                                           Washington; Green   Bay,
                                                                                        Green Bay,
22
22
        Madison, and
        Madison,  and Milwaukee,
                       Milwaukee, Wisconsin.
                                     Wisconsin. Consolidated
                                                 Consolidated Governmental       Entities Compl.
                                                                 Governmental Entities    Compl.
23
23      ¶¶ 37–53 (July
        ¶¶ 37-53  (July 28,
                        28, 2023),
                            2023), ECF
                                    ECF No.
                                          No. 175.
                                              175.
      2
        Defs.’ Notice
      2 Defs.' Notice Mot.
                       Mot. && Mot.
                                Mot. Immediate   Appeal &
                                      Immediate Appeal     & Stay  Under 28
                                                              Stay Under   28 U.S.C.
                                                                              U.S.C. §§ 1292(b);
                                                                                        1292(b); &
                                                                                                 &
24
24      Mem. P.
        Mein.  P. &
                  & A.
                     A. Supp.
                        Supp. Thereof   (Dec. 13,
                              Thereof (Dec.   13, 2023),
                                                  2023), ECF
                                                           ECF No.
                                                                 No. 278.
                                                                     278.
      3
        See Min.
      3 See Min. Order   Mot. Dismiss
                  Order Mot.   Dismiss ("Order")
                                         (“Order”) at
                                                   at 12-13
                                                       12–13 (Nov.
                                                               (Nov. 17,
                                                                     17, 2023),
                                                                          2023), ECF
                                                                                 ECF No.
                                                                                      No. 270.
                                                                                           270.
25                                                    1
          NO. 8:22-ML-03052-JVS-KES
          NO. 8:22-ML-03052-JVS-KES                            GOVERNMENTAL  ENTITIES’ OPP’N
                                                               GOVERNMENTAL ENTITIES'  OPP'N
                                                            TO
                                                            TO INTERLOCUTORY
                                                               INTERLOCUTORY APPEAL
                                                                             APPEAL && STAY
                                                                                       STAY
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 1    foreseeability of
      foreseeability    harms[;]”4 and
                     of harms[;]"4 and whether,
                                       whether, under
                                                under the
                                                      the respective
                                                          respective laws
                                                                     laws of
                                                                          of seven jurisdictions
                                                                             seven jurisdictions

    (the above
 22 (the above five
               five plus
                    plus Maryland
                         Maryland and
                                  and Washington),
                                      Washington), aa duty of care
                                                      duty of      is an
                                                              care is an element of aa public
                                                                         element of    public

    nuisance claim.
 33 nuisance claim.

 44           With respect to
              With respect to negligence,
                              negligence, the
                                          the GE Plaintiffs assert,
                                              GE Plaintiffs assert, and this Court
                                                                    and this       recognized, two
                                                                             Court recognized, two

 55 duties—neither
    duties—neither of which are
                   of which are predicated
                                predicated solely
                                           solely on the foreseeability
                                                  on the foreseeability of harms.5 As
                                                                        of harms.5 As such,
                                                                                      such,

    an answer
 66 an answer to
              to Defendants'
                 Defendants’ proposed
                             proposed question would not
                                      question would not materially
                                                         materially advance the litigation,
                                                                    advance the litigation,

    if at
 77 if at all.
          all. But
               But it
                   it would
                      would be
                            be improper
                               improper to
                                        to certify these questions
                                           certify these           in the
                                                         questions in the first
                                                                          first place
                                                                                place because
                                                                                      because the
                                                                                              the

 8 existence
 8 existence of
             of aa duty is aa mixed
                   duty is    mixed question
                                    question of law and
                                             of law and fact
                                                        fact and
                                                             and there
                                                                 there are
                                                                       are no
                                                                           no grounds for
                                                                              grounds for

 99 differing
    differing opinions because the
              opinions because the Court
                                   Court correctly applied the
                                         correctly applied the law
                                                               law to
                                                                   to the
                                                                      the facts
                                                                          facts here.
                                                                                here.

10
10            With respect to
              With respect to nuisance,
                              nuisance, Defendants
                                        Defendants reargue
                                                   reargue that
                                                           that "duty
                                                                “duty is
                                                                      is fundamental
                                                                         fundamental to
                                                                                     to all
                                                                                        all GE
                                                                                            GE

   Plaintiffs’ claims
11 Plaintiffs'
11                    for public
               claims for        nuisance.”6 The
                          public nuisance."6     two cases
                                             The two       Defendants muster
                                                     cases Defendants muster to
                                                                             to support their
                                                                                support their

   bold claim
12 bold
12      claim do not stand
              do not       for that
                     stand for that proposition.
                                    proposition. There is no
                                                 There is no ground for aa difference
                                                             ground for    difference of
                                                                                      of opinion
                                                                                         opinion

   for the
13 for
13     the Ninth
           Ninth Circuit to elucidate.
                 Circuit to            Even if
                            elucidate. Even if there
                                               there were,
                                                     were, Defendants
                                                           Defendants offer no basis
                                                                      offer no basis for
                                                                                     for

   imputing such
14 imputing
14          such aa requirement
                    requirement to
                                to the
                                   the other jurisdictions at
                                       other jurisdictions at issue
                                                              issue in
                                                                    in this
                                                                       this case. As such,
                                                                            case. As such, aa

   resolution of
15 resolution
15               the question
              of the          in just
                     question in just two
                                      two jurisdictions
                                          jurisdictions would
                                                        would not
                                                              not materially
                                                                  materially advance the
                                                                             advance the

   litigation.
16 litigation.
16

17
17            Defendants’ motion
              Defendants' motion does not meet
                                 does not meet their
                                               their heavy
                                                     heavy burden
                                                           burden under
                                                                  under 28
                                                                        28 U.S.C.
                                                                           U.S.C. §§ 1292(b).
                                                                                     1292(b).

18 The
18 The GE Plaintiffs respectfully
       GE Plaintiffs respectfully request
                                  request the
                                          the Court
                                              Court deny Defendants’ motion
                                                    deny Defendants' motion so that the
                                                                            so that the

   parties can
19 parties
19         can expeditiously move this
               expeditiously move this litigation
                                       litigation toward
                                                  toward resolution
                                                         resolution and
                                                                    and abate the ongoing
                                                                        abate the ongoing

   threat to
20 threat
20        to public
             public safety.
                    safety.

21
21

22
22
      4
          ECF No. 278 at 4–5.
      4 ECF No. 278 at 4-5.
23
23    5
        See Governmental
      5 See              Entities’ Opp'n
            Governmental Entities' Opp’n Mot.
                                         Mot. Dismiss
                                              Dismiss (Oct.
                                                      (Oct. 3,
                                                            3, 2023),
                                                               2023), ECF
                                                                      ECF No.
                                                                          No. 238
                                                                              238 at
                                                                                  at 37-42;
                                                                                     37–42;
24
24        ECF No.
          ECF No. 270
                  270 at
                      at 7–9.
                         7-9.
      6
        ECF No.
      6 ECF No. 278
                278 at
                    at 4–5.
                       4-5.
                                                    2
                                                    2
          NO. 8:22-ML-03052-JVS-KES
          NO. 8:22-ML-03052-JVS-KES                           GOVERNMENTAL  ENTITIES’ OPP’N
                                                              GOVERNMENTAL ENTITIES'  OPP'N
                                                           TO
                                                           TO INTERLOCUTORY
                                                              INTERLOCUTORY APPEAL
                                                                            APPEAL && STAY
                                                                                      STAY
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 1
 1                                    II.
                                      II.    LEGAL
                                             LEGAL STANDARD
                                                   STANDARD

 22         Under 28
            Under 28 U.S.C.
                     U.S.C. §§ 1292(b),
                               1292(b), in
                                        in deciding whether to
                                           deciding whether to certify an order
                                                               certify an       for appeal,
                                                                          order for appeal, aa

 3
 3    district
      district court must determine
               court must           if (1)
                          determine if (1) there
                                           there is
                                                 is aa controlling
                                                       controlling question
                                                                   question of law, (2)
                                                                            of law, (2) as
                                                                                        as to
                                                                                           to which
                                                                                              which

    there is
 44 there is substantial
             substantial ground for difference
                         ground for difference of
                                               of opinion, and (3)
                                                  opinion, and (3) an
                                                                   an immediate
                                                                      immediate appeal
                                                                                appeal from
                                                                                       from the
                                                                                            the

 55 order may materially
    order may materially advance
                         advance the
                                 the ultimate
                                     ultimate termination
                                              termination of litigation. In
                                                          of litigation. In re
                                                                            re Cement Antitrust
                                                                               Cement Antitrust

    Litig., 673
 66 Litig., 673 F.2d
                F.2d 1020,
                     1020, 1026
                           1026 (9th
                                (9th Cir. 1981). Only
                                     Cir. 1981).      if all
                                                 Only if     three factors
                                                         all three factors are met may
                                                                           are met may the
                                                                                       the Court
                                                                                           Court

 77 certify an order
    certify an       for appeal.
               order for appeal. Id.
                                 Id. "Section
                                     “Section 1292(b)
                                              1292(b) is
                                                      is aa departure
                                                            departure from the normal
                                                                      from the normal rule that
                                                                                      rule that

 8
 8    only final judgments
      only final judgments are appealable, and
                           are appealable, and therefore
                                               therefore must
                                                         must be
                                                              be construed narrowly.” James
                                                                 construed narrowly." James v.
                                                                                            v.

    Price Stern
 99 Price Stern Sloan,
                Sloan, Inc.,
                       Inc., 283
                             283 F.3d
                                 F.3d 1064,
                                      1064, 1067
                                            1067 n.6
                                                 n.6 (9th
                                                     (9th Cir.
                                                          Cir. 2002).
                                                               2002). Such
                                                                      Such aa departure is "to
                                                                              departure is “to

10
10    be applied
      be applied sparingly and only
                 sparingly and      in exceptional
                               only in exceptional cases.”
                                                   cases." United States v.
                                                           United States v. Woodbury, 263 F.2d
                                                                            Woodbury, 263 F.2d

11
11    784,
      784, 788 n.11 (9th
           788 n.11 (9th Cir. 1959). Thus,
                         Cir. 1959).       the party
                                     Thus, the party seeking
                                                     seeking certification “has the
                                                             certification "has the burden
                                                                                    burden of
                                                                                           of

12
12    showing that exceptional
      showing that exceptional circumstances justify aa departure
                               circumstances justify              from the
                                                        departure from the ‘basic policy of
                                                                           `basic policy of

13
13    postponing appellate
      postponing appellate review
                           review until
                                  until after
                                        after the
                                              the entry
                                                  entry of
                                                        of aa final
                                                              final judgment.'
                                                                    judgment.’ "” Fukuda
                                                                                  Fukuda v.
                                                                                         v. Cnty.
                                                                                            Cnty.

14
14    of L.A., 630
      of L.A.,     F. Supp.
               630 F.       228, 229
                      Supp. 228, 229 (C.D.
                                     (C.D. Cal.
                                           Cal. 1986)
                                                1986) (quoting
                                                      (quoting Coopers & Lybrand
                                                               Coopers & Lybrand v. Livesay,
                                                                                 v. Livesay,

15
15    437 U.S. 463,
      437 U.S. 463, 475 (1978)). As
                    475 (1978)). As courts within the
                                    courts within the Ninth
                                                      Ninth Circuit have summarized:
                                                            Circuit have summarized:

16
16
            Section  1292(b) is
            Section 1292(b)   is meant
                                  meant to
                                         to be
                                             be used
                                                used sparingly,
                                                     sparingly, andand appeals
                                                                         appeals under
                                                                                    under it
                                                                                           it are,
                                                                                              are,
17
17          accordingly, hen's-teeth
            accordingly,  hen’s-teeth rare.
                                       rare. Because
                                             Because permitting
                                                      permitting piecemeal
                                                                    piecemeal appeals
                                                                                  appeals is
                                                                                           is bad
                                                                                              bad
            policy, permitting
            policy, permitting liberal
                               liberal use
                                       use of
                                           of § 1292(b) interlocutory
                                              § 1292(b) interlocutory appeals
                                                                         appeals isis bad
                                                                                      bad policy.
                                                                                          policy.
18
18
            Congress
            Congress did   not intend
                       did not  intend 28
                                        28 U.S.C.
                                           U.S.C. §§ 1292(b)
                                                     1292(b) to to serve   an error-correction
                                                                    serve an    error-correction
19
19          function. Only
            function. Only exceptional
                             exceptional circumstances     justify departure
                                          circumstances justify                  from the
                                                                    departure from      the basic
                                                                                            basic
            policy of
            policy    postponing appellate
                   of postponing   appellate review
                                             review until
                                                    until after
                                                          after the
                                                                the entry
                                                                     entry of
                                                                           of aa final
                                                                                 final judgment.
                                                                                       judgment.
20
20
   Hightower v.
21 Hightower
21              Schwarzenegger, No.
             v. Schwarzenegger, No. 1:04-cv-06028-OWW-SMS
                                    1:04-cv-06028-OWW-SMS (PC),
                                                          (PC), 2009
                                                                2009 WL 3756342,
                                                                     WL 3756342,

22
22    at *2
      at    (E.D. Cal.
         *2 (E.D.      Nov. 6,
                  Cal. Nov. 6, 2009)
                               2009) (internal
                                     (internal citations and quotations
                                               citations and quotations omitted).
                                                                        omitted).

23
23

24
24
                                                      3
                                                      3
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                                GOVERNMENTAL  ENTITIES’ OPP’N
                                                                GOVERNMENTAL ENTITIES'  OPP'N
                                                             TO
                                                             TO INTERLOCUTORY
                                                                INTERLOCUTORY APPEAL
                                                                              APPEAL && STAY
                                                                                        STAY
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 1
 1                                       III.
                                         III.   ARGUMENT
                                                ARGUMENT

 22   A.
      A.    Interlocutory
            Interlocutory Review
                          Review Is
                                 Is Extraordinary and Disfavored
                                    Extraordinary and Disfavored Relief,
                                                                 Relief, Particularly
                                                                         Particularly
            in MDLs.
            in MDLs.
 3
 3

 44         As the
            As the Ninth
                   Ninth Circuit has noted,
                         Circuit has noted, "the
                                            “the legislative history of
                                                 legislative history    1292(b) indicates
                                                                     of 1292(b) indicates that
                                                                                          that this
                                                                                               this

 55 section was to
    section was to be
                   be used
                      used only in exceptional
                           only in exceptional situations in which
                                               situations in which allowing
                                                                   allowing an
                                                                            an interlocutory
                                                                               interlocutory

    appeal would
 66 appeal would avoid
                 avoid protracted
                       protracted and
                                  and expensive litigation.” In
                                      expensive litigation." In re
                                                                re Cement,
                                                                   Cement, 673 F.2d at
                                                                           673 F.2d at 1026
                                                                                       1026

    (emphasis added).
 77 (emphasis added). Defendants
                      Defendants do not even
                                 do not even claim to satisfy
                                             claim to         this standard,
                                                      satisfy this           because they
                                                                   standard, because they

 8
 8    cannot.
      cannot.

 99         This Court’s denial
            This Court's denial of Defendants’ motion
                                of Defendants' motion to
                                                      to dismiss is not
                                                         dismiss is not an
                                                                        an exceptional
                                                                           exceptional situation.
                                                                                       situation.

10
10    Defendants are
      Defendants are simply unhappy with
                     simply unhappy with this
                                         this Court’s ruling, and
                                              Court's ruling, and the
                                                                  the instant
                                                                      instant motion
                                                                              motion is
                                                                                     is no
                                                                                        no

11
11    different from others
      different from        that courts
                     others that        routinely deny.
                                 courts routinely       If this
                                                  deny. If this Court were to
                                                                Court were to certify these
                                                                              certify these

12
12    questions to the
      questions to the Ninth
                       Ninth Circuit, it would
                             Circuit, it would not
                                               not save
                                                   save the
                                                        the parties
                                                            parties the
                                                                    the expense and burden
                                                                        expense and burden of
                                                                                           of

13
13    litigating this
      litigating this case. However the
                      case. However the Ninth
                                        Ninth Circuit resolves those
                                              Circuit resolves those questions would not
                                                                     questions would not be
                                                                                         be

14
14    dispositive
      dispositive of the GE
                  of the    Plaintiffs’ other
                         GE Plaintiffs' other claims (e.g., Kansas
                                              claims (e.g., Kansas City’s and St.
                                                                   City's and     Louis’s claims
                                                                              St. Louis's claims

15
15    for unjust
      for unjust enrichment)
                 enrichment) or the claims
                             or the        brought by
                                    claims brought by governmental
                                                      governmental entities under the
                                                                   entities under the laws
                                                                                      laws of
                                                                                           of

16
16    other
      other states,
            states, such as the
                    such as the claims
                                claims of
                                       of Chicago, Louisville, and
                                          Chicago, Louisville, and others that will
                                                                   others that will be
                                                                                    be filed
                                                                                       filed in
                                                                                             in the
                                                                                                the

17
17    future. For
      future. For that
                  that reason,
                       reason, courts presiding over
                               courts presiding      MDLs like
                                                over MDLs like this
                                                               this one regularly deny
                                                                    one regularly      motions
                                                                                  deny motions

18
18    like this
      like this one. See, e.g.,
                one. See,       In re
                          e.g., In    Automotive Parts
                                   re Automotive Parts Antitrust
                                                       Antitrust Litig.,
                                                                 Litig., No.
                                                                         No. 12-md-02311,
                                                                             12-md-02311, 2013
                                                                                          2013

19
19    WL
      WL 4784682, at *4
         4784682, at    (E.D. Mich.
                     *4 (E.D. Mich. Sept.
                                    Sept. 06, 2013) ("recogniz[ing]
                                          06, 2013) (“recogniz[ing] that
                                                                    that judicial
                                                                         judicial economy
                                                                                  economy

20
20    interests weigh
      interests weigh against
                      against an
                              an interlocutory
                                 interlocutory appeal
                                               appeal in
                                                      in aa multi-district
                                                            multi-district litigation,"
                                                                           litigation,” and
                                                                                        and
   “affording the
21 "affording
21            the appellate
                  appellate court the opportunity
                            court the             to address
                                      opportunity to address all
                                                             all of the issues
                                                                 of the issues at
                                                                               at one time at
                                                                                  one time at the
                                                                                              the

22
22    conclusion
      conclusion of the litigation
                 of the litigation will
                                   will facilitate
                                        facilitate aa speedier
                                                      speedier resolution");
                                                               resolution”); In
                                                                             In re FEMA Trailer
                                                                                re FEMA Trailer

   Formaldehyde Prods.
23 Formaldehyde
23              Prods. Liab.
                       Liab. Litig.,
                             Litig., MDL
                                     MDL No.
                                         No. 07-1873, 2010 WL
                                             07-1873, 2010    1410675, at
                                                           WL 1410675, at *1 (E.D. La.
                                                                          *1 (E.D. La.

24
24    Mar. 30,
      Mar. 30, 2010)
               2010) (denying
                     (denying motions
                              motions for
                                      for interlocutory
                                          interlocutory review
                                                        review because
                                                               because "allowing
                                                                       “allowing piece-meal
                                                                                 piece-meal

                                                    44
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                             GOVERNMENTAL  ENTITIES’ OPP’N
                                                             GOVERNMENTAL ENTITIES'  OPP'N
                                                          TO
                                                          TO INTERLOCUTORY
                                                             INTERLOCUTORY APPEAL
                                                                           APPEAL && STAY
                                                                                     STAY
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    appeals of
 11 appeals    issues applicable
            of issues applicable to
                                 to only
                                    only certain few member
                                         certain few member cases” would impede
                                                            cases" would impede the
                                                                                the progress
                                                                                    progress

 22   of the MDL).
      of the MDL).

 33           Even in
              Even in the
                      the unlikely
                          unlikely scenario where the
                                   scenario where the Ninth
                                                      Ninth Circuit finds in
                                                            Circuit finds in favor
                                                                             favor of Defendants
                                                                                   of Defendants

 44 on all twelve
    on all twelve questions, the outcome
                  questions, the         would be
                                 outcome would be remand,
                                                  remand, amendment
                                                          amendment of the GE
                                                                    of the    Plaintiffs’
                                                                           GE Plaintiffs'

 55 complaints, further motion
    complaints, further motion to
                               to dismiss briefing, and
                                  dismiss briefing, and discovery and trial
                                                        discovery and trial of the claims
                                                                            of the        that
                                                                                   claims that

    Defendants do
 66 Defendants    not seek
               do not seek review
                           review of.
                                  of. Thus, review would
                                      Thus, review would only “prolong judicial
                                                         only "prolong judicial proceedings,
                                                                                proceedings,

    add delay
 77 add       and expense
        delay and         to litigants,
                  expense to litigants, burden
                                        burden appellate
                                               appellate courts, and present
                                                         courts, and present issues
                                                                             issues for
                                                                                    for decisions
                                                                                        decisions

 8 on
 8    uncertain and
   on uncertain and incomplete
                    incomplete records[.]"
                               records[.]” In
                                           In re
                                              re World
                                                 World Trade Ctr. Disaster
                                                       Trade Ctr. Disaster Site
                                                                           Site Litig.,
                                                                                Litig., 469
                                                                                        469

    F. Supp.
 99 F.       2d 134,
       Supp. 2d 134, 144
                     144 (S.D.N.Y.
                         (S.D.N.Y. 2007)
                                   2007) (citing
                                         (citing Koehler
                                                 Koehler v. Bank of
                                                         v. Bank    Bermuda Ltd.,
                                                                 of Bermuda Ltd., 101
                                                                                  101 F.3d
                                                                                      F.3d

10
10    863, 865-66
      863, 865–66 (2d
                  (2d Cir. 1996)). This
                      Cir. 1996)).      alone would
                                   This alone would suffice
                                                    suffice to
                                                            to deny Defendants’ motion.
                                                               deny Defendants' motion.

11
11    B.
      B.      Defendants Fail
              Defendants Fail to
                              to Satisfy
                                 Satisfy the
                                         the Prerequisites
                                             Prerequisites for
                                                           for Interlocutory
                                                               Interlocutory Review.
                                                                             Review.
12
12            Beyond the
              Beyond the practical
                         practical basis
                                   basis for
                                         for denying interlocutory review,
                                             denying interlocutory review, the
                                                                           the Ninth
                                                                               Ninth Circuit
                                                                                     Circuit
13 would
13 would not
         not have
             have jurisdiction
                  jurisdiction to
                               to consider the questions
                                  consider the           presented by
                                               questions presented by Defendants,
                                                                      Defendants, as
                                                                                  as they
                                                                                     they
14
14    satisfy none of
      satisfy none    the three
                   of the three prerequisites
                                prerequisites for
                                              for interlocutory
                                                  interlocutory appellate
                                                                appellate jurisdiction
                                                                          jurisdiction under
                                                                                       under 28
                                                                                             28
15 U.S.C.
15 U.S.C. §§ 1292(b).
             1292(b).
16
16            1.
              1.    The
                    The Existence
                        Existence of
                                  of aa Duty
                                        Duty of Care Is
                                             of Care Is aa Mixed
                                                           Mixed Question
                                                                 Question of
                                                                          of Law and Fact.
                                                                             Law and Fact.
17
17            In the
              In the context
                     context of
                             of section 1292(b),7 aa "“ ‘question
                                section 1292(b),7       `question of law’ means
                                                                  of law' means aa ‘pure
                                                                                   `pure question
                                                                                         question of
                                                                                                  of
18 law,'
18 law,’ not
         not aa mixed
                mixed question
                      question of law and
                               of law and fact
                                          fact or an application
                                               or an application of law to
                                                                 of law to aa particular
                                                                              particular set
                                                                                         set of
                                                                                             of
19 facts."
19 facts.” Barrer
           Barrer v.
                  v. Chase Bank, USA,
                     Chase Bank,      N.A., No.
                                 USA, N.A., No. 06-415-HA, 2011 WL
                                                06-415-HA, 2011    1979718, at
                                                                WL 1979718, at *4 (D.
                                                                               *4 (D.
20
20    Or. May 18,
      Or. May 18, 2011)
                  2011) (citation
                        (citation omitted).
                                  omitted). The
                                            The existence
                                                existence of
                                                          of aa duty is aa question
                                                                duty is    question of law, but
                                                                                    of law, but
21
21

22
22    7
        Defendants provide
      7 Defendants     provide aa string
                                   string cite for the
                                          cite for the proposition
                                                       proposition that
                                                                     that the
                                                                          the existence
                                                                              existence of
                                                                                         of aa negligence
                                                                                               negligence
        duty
        duty isis aa question
                     question of law. See
                              of law.  See ECF
                                            ECF No.
                                                 No. 278
                                                       278 at
                                                           at 4.
                                                              4. Those
                                                                 Those cases    merely establish
                                                                         cases merely              that duty
                                                                                        establish that  duty
23
23
        is generally
        is generally aa question    for the
                         question for   the Court,  not the
                                            Court, not  the jury,
                                                            jury, and
                                                                  and none
                                                                        none address
                                                                              address whether
                                                                                       whether aa finding
                                                                                                   finding
24
24      that aa plaintiff
        that    plaintiff had
                           had adequately
                               adequately pled
                                            pled the
                                                  the existence
                                                      existence of
                                                                 of aa duty is aa question
                                                                       duty is    question of  pure law
                                                                                           of pure  law for
                                                                                                         for
        the purposes
        the purposes of     28 U.S.C.
                        of 28  U.S.C. §§ 1292(b).
                                          1292(b).
                                                        55
          NO. 8:22-ML-03052-JVS-KES
          NO. 8:22-ML-03052-JVS-KES                                GOVERNMENTAL  ENTITIES’ OPP’N
                                                                   GOVERNMENTAL ENTITIES'  OPP'N
                                                                TO
                                                                TO INTERLOCUTORY
                                                                   INTERLOCUTORY APPEAL
                                                                                 APPEAL && STAY
                                                                                           STAY
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 1
 1    whether aa duty
      whether    duty exists varies depending
                      exists varies depending on the factual
                                              on the factual situation presented. Lovett
                                                             situation presented. Lovett v.
                                                                                         v. Omni
                                                                                            Omni

    Hotels Mgmt.
 22 Hotels Mgmt. Corp., No. 14-cv-02844-RS,
                 Corp., No. 14-cv-02844-RS, 2016
                                            2016 WL
                                                 WL 7732622, at *2
                                                    7732622, at    (N.D. Cal.
                                                                *2 (N.D. Cal. Apr.
                                                                              Apr. 18,
                                                                                   18,

 3
 3    2016) (denying
      2016) (denying motion
                     motion for interlocutory review).
                            for interlocutory review). The
                                                       The considerations that affect
                                                           considerations that        the duty
                                                                               affect the duty

    issue are
 44 issue are factually
              factually complex, involving "extensive
                        complex, involving “extensive inquiries
                                                      inquiries into
                                                                into public
                                                                     public policy, the relative
                                                                            policy, the relative

 55 expectations
    expectations of the parties,
                 of the parties, and
                                 and material
                                     material concerns
                                              concerns of
                                                       of equity, fairness, and
                                                          equity, fairness, and risk
                                                                                risk allocation."
                                                                                     allocation.”

    In re
 66 In    Sept. 11
       re Sept. 11 Litig.,
                   Litig., No.
                           No. 21
                               21 MC
                                  MC 97(AKH), 2003 WL
                                     97(AKH), 2003    22251325, at
                                                   WL 22251325, at *3 (S.D.N.Y. Oct.
                                                                   *3 (S.D.N.Y.      1,
                                                                                Oct. 1,

    2003) (citations
 77 2003) (citations omitted). For that
                     omitted). For that reason,
                                        reason, whether
                                                whether aa duty
                                                           duty of
                                                                of care
                                                                   care exists is not
                                                                        exists is not aa pure
                                                                                         pure

 8
 8    question
      question of law subject
               of law subject to
                              to interlocutory
                                 interlocutory appeal
                                               appeal under
                                                      under 1292(b).
                                                            1292(b). Id.
                                                                     Id.

 99         For instance,
            For instance, in
                          in Parris
                             Parris v. 3M Company,
                                    v. 3M          the court
                                          Company, the       recently found
                                                       court recently found that
                                                                            that whether
                                                                                 whether aa

10
10    company
      company owed
              owed aa duty
                      duty of
                           of care to third
                              care to third parties
                                            parties was
                                                    was not
                                                        not aa question
                                                               question of pure law
                                                                        of pure law under
                                                                                    under section
                                                                                          section

11
11    1292(b), as:
      1292(b), as:

12
12
                     [The question
                     [The           was] intertwined
                           question was] intertwined with
                                                      with numerous
                                                            numerous factual
                                                                         factual issues
                                                                                  issues—
                                                                                        -
13
13                   for example,
                     for           whether and
                         example, whether   and when
                                                when Daikin
                                                       Daikin knew
                                                               knew about
                                                                      about the
                                                                              the harmful
                                                                                   harmful
                     effects
                     effects of PFAS, whether
                             of PFAS, whether it
                                               it was
                                                  was foreseeable
                                                      foreseeable that
                                                                    that PFAS
                                                                         PFAS would
                                                                                 would be
                                                                                        be
14
14
                     improperly disposed
                     improperly   disposed of   and discharged
                                            of and                into surface
                                                     discharged into                waters,
                                                                         surface waters,
15
15                   whether Daikin
                     whether   Daikin had
                                      had aa right
                                             right to
                                                   to abate
                                                      abate the
                                                             the improper
                                                                 improper disposal
                                                                               disposal of
                                                                                         of
                     PFAS, and
                     PFAS,   and whether
                                 whether the
                                         the harm
                                             harm to
                                                   to the
                                                      the Plaintiff
                                                          Plaintiff was
                                                                     was foreseeable.
                                                                          foreseeable.
16
16
   No. 4:21-CV-40-TWT,
17 No.
17                     2022 WL
       4:21-CV-40-TWT, 2022    2303947, at
                            WL 2303947, at *3 (N.D. Ga.
                                           *3 (N.D. Ga. June 27, 2022)
                                                        June 27, 2022) (citation
                                                                       (citation

18
18    omitted).
      omitted). The
                The existence
                    existence of
                              of aa duty applicable to
                                    duty applicable to the
                                                       the GE Plaintiffs’ negligence
                                                           GE Plaintiffs' negligence claims here
                                                                                     claims here

19
19    is bound
      is bound up
               up in
                  in similar
                     similar questions
                             questions of
                                       of fact, including whether
                                          fact, including whether and when Defendants
                                                                  and when Defendants knew
                                                                                      knew

20
20    that failing
      that failing to
                   to equip their vehicles
                      equip their vehicles with
                                           with reasonable
                                                reasonable anti-theft
                                                           anti-theft measures
                                                                      measures made
                                                                               made them
                                                                                    them

21
21    dangerously
      dangerously easy to steal
                  easy to       and whether
                          steal and whether it
                                            it was
                                               was foreseeable
                                                   foreseeable that
                                                               that doing
                                                                    doing so would harm
                                                                          so would harm the
                                                                                        the GE
                                                                                            GE

22
22

23
23

24
24
                                                       66
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                                 GOVERNMENTAL  ENTITIES’ OPP’N
                                                                 GOVERNMENTAL ENTITIES'  OPP'N
                                                              TO
                                                              TO INTERLOCUTORY
                                                                 INTERLOCUTORY APPEAL
                                                                               APPEAL && STAY
                                                                                         STAY
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 1
 1    Plaintiffs.8 In
      Plaintiffs.' In sum, the existence
                      sum, the existence of
                                         of aa duty is aa mixed
                                               duty is    mixed question
                                                                question of law and
                                                                         of law and fact
                                                                                    fact that
                                                                                         that is
                                                                                              is

 22   inappropriate for
      inappropriate for interlocutory
                        interlocutory review.
                                      review.

 3
 3           2.
             2.     Defendants Have
                    Defendants Have Not
                                     Not Shown
                                         Shown aa Substantial
                                                  Substantial Ground
                                                              Ground for Difference of
                                                                     for Difference of
                    Opinion, and
                    Opinion, and the Court’s Order
                                 the Court's Order Was
                                                   Was Correctly
                                                        Correctly Decided.
                                                                  Decided.
 44

 55          There is no
             There is no substantial
                         substantial ground for difference
                                     ground for difference of
                                                           of opinion
                                                              opinion on the issues
                                                                      on the issues Defendants
                                                                                    Defendants
 66 raise,
    raise, which
           which is
                 is unsurprising
                    unsurprising since the Court
                                 since the Court correctly
                                                 correctly decided these issues
                                                           decided these issues in
                                                                                in its
                                                                                   its Order. As
                                                                                       Order. As
 77 such, the Ninth
    such, the Ninth Circuit's
                    Circuit’s early review of
                              early review    the dozen
                                           of the       issues Defendants
                                                  dozen issues Defendants raise
                                                                          raise is
                                                                                is unwarranted,
                                                                                   unwarranted,
 8
 8    and Defendants'
      and Defendants’ request
                      request should
                              should be
                                     be denied.
                                        denied.
 99                 a.
                    a.      There
                            There Is
                                  Is No
                                     No Substantial
                                        Substantial Ground
                                                    Ground for Difference of
                                                           for Difference    Opinion.
                                                                          of Opinion.
10
10           Regarding section
             Regarding         1292(b)’s "substantial
                       section 1292(b)'s “substantial ground for difference
                                                      ground for difference of
                                                                            of opinion”
                                                                               opinion"
11
11    requirement, the
      requirement, the question
                       question for the Court
                                for the       is "to
                                        Court is “to what
                                                     what extent the controlling
                                                          extent the             law is
                                                                     controlling law is unclear."
                                                                                        unclear.”
12
12    Couch
      Couch v.
            v. Telescope Inc., 611
               Telescope Inc.,     F.3d 629,
                               611 F.3d 629, 633 (9th Cir.
                                             633 (9th      2010). The
                                                      Cir. 2010). The question under this
                                                                      question under this prong
                                                                                          prong
13
13    is not
      is not whether
             whether its
                     its application
                         application of the law
                                     of the law was
                                                was correct, but whether
                                                    correct, but whether the
                                                                         the Ninth
                                                                             Ninth Circuit’s
                                                                                   Circuit's
14
14    immediate resolution
      immediate resolution of
                           of aa question
                                 question of law will
                                          of law will clear up uncertainty.
                                                      clear up uncertainty. In
                                                                            In re Examination of
                                                                               re Examination of
15 Privilege
15 Privilege Claims, No. MC15-0015-JCC-JPD,
             Claims, No. MC15-0015-JCC-JPD, 2016
                                            2016 WL 11713117, at
                                                 WL 11713117, at *3
                                                                 *3 (W.D.
                                                                    (W.D. Wash.
                                                                          Wash. Jan.
                                                                                Jan.
16
16    25, 2016).
      25, 2016). Thus,
                 Thus, aa substantial
                          substantial ground for difference
                                      ground for            of opinion
                                                 difference of opinion exists only where
                                                                       exists only where the
                                                                                         the
17
17    circuits are in
      circuits are in dispute
                      dispute on the question
                              on the          and the
                                     question and the court of appeals
                                                      court of appeals of
                                                                       of the
                                                                          the circuit has not
                                                                              circuit has not spoken
                                                                                              spoken
18
18    on the point,
      on the point, or if the
                    or if the issue
                              issue is
                                    is novel
                                       novel and
                                             and difficult.
                                                 difficult. Couch,
                                                            Couch, 611 F.3d at
                                                                   611 F.3d at 633;
                                                                               633; see
                                                                                    see also
                                                                                        also In
                                                                                             In re
                                                                                                re
19 Buccina,
19 Buccina, 657 F. App'x
            657 F. App’x 350,
                         350, 351
                              351 (6th
                                  (6th Cir.
                                       Cir. 2016)
                                            2016) (requiring
                                                  (requiring either
                                                             either aa novel
                                                                       novel and
                                                                             and difficult
                                                                                 difficult
20
20    question, an intra-circuit
      question, an intra-circuit split,
                                 split, or
                                        or aa circuit split).
                                              circuit split).
21
21

22
22

23
23    8 This
        This case is not
             case is not at
                         at the
                            the liability
                                liability phase
                                          phase of
                                                of aa single
                                                      single mass
                                                             mass disaster, like Steering
                                                                  disaster, like Steering Committee
                                                                                          Committee
24
24     v.
       v. United States, 66 F.3d
          United States,    F.3d 572,
                                 572, 575 (9th Cir.
                                      575 (9th      1993), where
                                               Cir. 1993), where the
                                                                 the Ninth
                                                                     Ninth Circuit
                                                                           Circuit accepted
                                                                                   accepted
       review of
       review     an arguably
               of an arguably mixed
                               mixed question
                                      question of fact and
                                               of fact and law.
                                                           law.
                                                        77
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                                   GOVERNMENTAL  ENTITIES’ OPP’N
                                                                   GOVERNMENTAL ENTITIES'  OPP'N
                                                                TO
                                                                TO INTERLOCUTORY
                                                                   INTERLOCUTORY APPEAL
                                                                                 APPEAL && STAY
                                                                                           STAY
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 1
 1          Defendants have
            Defendants have failed to establish
                            failed to establish any unclarity in
                                                any unclarity in the
                                                                 the law
                                                                     law that
                                                                         that expedited review
                                                                              expedited review

22   by the
     by the Ninth
            Ninth Circuit will resolve.
                  Circuit will resolve. Defendants
                                        Defendants identify
                                                   identify no
                                                            no circuit
                                                               circuit split, the issues
                                                                       split, the issues presented
                                                                                         presented

3
3    are not
     are not novel ones,99 and
             novel ones,   and they
                               they present
                                    present questions
                                            questions of
                                                      of state law that
                                                         state law that aa federal
                                                                           federal court
                                                                                   court of appeals
                                                                                         of appeals

    is no
 44 is no better
          better situated to address
                 situated to address than
                                     than this
                                          this Court. See Rowe
                                               Court. See Rowe v. Bankers Life
                                                               v. Bankers Life &
                                                                               & Cas.
                                                                                 Cas. Co., No.
                                                                                      Co., No.

 55 CV-07-1281-PHX-MHM, 2008 WL
    CV-07-1281-PHX-MHM, 2008 WL 5156077, at *3
                                5156077, at    (D. Ariz.
                                            *3 (D. Ariz. Dec.
                                                         Dec. 9, 2008) (28
                                                              9, 2008) (28 U.S.C.
                                                                           U.S.C.

 66 §§ 1292
       1292 is
            is particularly
               particularly inapt
                            inapt when
                                  when the
                                       the issue
                                           issue presented
                                                 presented is
                                                           is one
                                                              one of
                                                                  of state law). Moreover,
                                                                     state law). Moreover, an
                                                                                           an

    immediate appellate
 77 immediate appellate ruling
                        ruling on the twelve
                               on the twelve questions
                                             questions of state law
                                                       of state law that
                                                                    that Defendants
                                                                         Defendants seek
                                                                                    seek to
                                                                                         to

 8
 8   certify will not
     certify will not elucidate the law
                      elucidate the law in
                                        in other jurisdictions that
                                           other jurisdictions that are
                                                                    are part
                                                                        part of the MDL
                                                                             of the MDL but
                                                                                        but not
                                                                                            not

    part of
 99 part    the requested
         of the requested appeal.
                          appeal.

10
10          Instead, Defendants
            Instead, Defendants argue
                                argue that
                                      that the
                                           the Court
                                               Court got it wrong
                                                     got it wrong in
                                                                  in its
                                                                     its Order,
                                                                         Order, citing to the
                                                                                citing to the same
                                                                                              same
                                                                     10
11
11   state
     state court authorities they
           court authorities they raised
                                  raised in
                                         in their
                                            their motion
                                                  motion to
                                                         to dismiss.
                                                            dismiss.1°  The fact that
                                                                        The fact that Defendants
                                                                                      Defendants

12
12   disagree with the
     disagree with the Court's
                       Court’s Order is not
                               Order is not aa basis
                                               basis for interlocutory review.
                                                     for interlocutory review. See
                                                                               See Couch,
                                                                                   Couch, 611
                                                                                          611

13
13   F.3d at
     F.3d at 633 (“A party’s
             633 ("A party's strong
                             strong disagreement with the
                                    disagreement with the Court’s ruling is
                                                          Court's ruling is not
                                                                            not sufficient for
                                                                                sufficient for

14
14   there to
     there to be
              be aa ‘substantial
                    `substantial ground for difference’
                                 ground for difference' "” of
                                                           of opinion under 28
                                                              opinion under 28 U.S.C.
                                                                               U.S.C. §§ 1292(b).).
                                                                                         1292(b).).

15
15   Section 1292(b) was
     Section 1292(b) was not
                         not intended
                             intended "“ ‘merely to provide
                                         `merely to         review of
                                                    provide review of difficult rulings in
                                                                      difficult rulings in hard
                                                                                           hard

16
16   cases.’
     cases.' "” Env
                Env’t't Prot.
                        Prot. Info.
                              Info. Ctr.
                                    Ctr. v. Pac. Lumber
                                         v. Pac. Lumber Co., No. C
                                                        Co., No. C 01-2821, 2004 WL
                                                                   01-2821, 2004    838160, at
                                                                                 WL 838160, at

17
17   *2 (N.D. Cal.
     *2 (N.D.      Apr. 19,
              Cal. Apr. 19, 2004)
                            2004) (quoting
                                  (quoting U.S. Rubber Co.
                                           U.S. Rubber Co. v.
                                                           v. Wright, 359 F.2d
                                                              Wright, 359 F.2d 784,
                                                                               784, 785 (9th
                                                                                    785 (9th

18
18   Cir. 1966)).
     Cir. 1966)).

19
19
     9
     9 To the extent
       To the        Defendants contend
              extent Defendants         the particular
                                contend the particular facts
                                                       facts of this case
                                                             of this case are unique, the
                                                                          are unique, the
20
20
       applicable law
       applicable   law is is not.
                              not. And
                                   And "it
                                         “it is
                                             is well
                                                well within
                                                     within this
                                                              this Court’s
                                                                   Court's competence
                                                                             competence to  to apply
                                                                                               apply old  law to
                                                                                                      old law to
21
21     new facts."
       new   facts.” Parris,
                      Parris, 2022
                                2022 WL      2303947, at
                                       WL 2303947,      at *2  (“[I]t would
                                                           *2 ("[I]t  would bebe untenable
                                                                                  untenable toto certify
                                                                                                 certify
       questions
       questions .. .. .. every  time an
                          every time   an unfamiliar
                                          unfamiliar fact
                                                       fact pattern
                                                             pattern emerges.
                                                                      emerges. As As the
                                                                                     the Eleventh
                                                                                          Eleventh Circuit
                                                                                                     Circuit
22
22     has acknowledged,
       has acknowledged, federal federal courts  are often
                                         courts are  often called    upon to
                                                            called upon     to anticipate
                                                                               anticipate the
                                                                                           the decisions
                                                                                               decisions ofof
       state
       state courts   and at
              courts and    at times
                               times to
                                      to decide   unsettled issues
                                         decide unsettled    issues ofof state law.”) (citing
                                                                         state law.")  (citing Escareno
                                                                                                Escareno v.v.
23
23
       Noltina Crucible
      Noltina    Crucible &   & Refractory
                                 Refractory Corp.,    139 F.3d
                                               Corp., 139   F.3d 1456,
                                                                  1456, 1461
                                                                          1461 (11th
                                                                                 (11th Cir.  1998)).
                                                                                       Cir. 1998)).
     10 See
        See Defs.'
             Defs.’ Notice
                      Notice &  & Mot.
                                   Mot. Dismiss
                                         Dismiss Consolidated
                                                   Consolidated Governmental          Entities Compl.;
                                                                    Governmental Entities                 Mem.
                                                                                                Compl.; Mein.
24
24
       P. &
       P. & A.A. Supp.
                 Supp. Thereof      at 29,
                           Thereof at   29, 31
                                            31 (Sept.
                                                (Sept. 8,
                                                       8, 2023),
                                                          2023), ECF
                                                                   ECF No.
                                                                         No. 219.
                                                                               219.
                                                         88
      NO. 8:22-ML-03052-JVS-KES
      NO. 8:22-ML-03052-JVS-KES                                     GOVERNMENTAL  ENTITIES’ OPP’N
                                                                    GOVERNMENTAL ENTITIES'  OPP'N
                                                                 TO
                                                                 TO INTERLOCUTORY
                                                                    INTERLOCUTORY APPEAL
                                                                                  APPEAL && STAY
                                                                                            STAY
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 1
 1                 b.
                   b.     The Court’s Order
                          The Court's Order Was
                                             Was Correctly
                                                  Correctly Decided.
                                                             Decided.
                          (i)
                          (i)  Defendants’ amalgamation
                               Defendants'  amalgamation of    “tort law"
                                                            of "tort law” ignores
                                                                          ignores the
                                                                                  the
 22                            distinct
                               distinct elements
                                        elements of
                                                 of public
                                                    public nuisance   and negligence
                                                           nuisance and   negligence claims.
                                                                                     claims.
 3
 3          Despite Defendants'
            Despite Defendants’ assertions
                                assertions to
                                           to the
                                              the contrary, public nuisance
                                                  contrary, public nuisance and
                                                                            and negligence
                                                                                negligence

 44 claims are distinct
    claims are          theories of
               distinct theories    liability. Defendants
                                 of liability. Defendants argue
                                                          argue that
                                                                that "a
                                                                     “a tort
                                                                        tort duty is fundamental
                                                                             duty is fundamental

    to all
 55 to all GE Plaintiffs’ claims
           GE Plaintiffs'        for public-nuisance
                          claims for public-nuisance damages,” by citing
                                                     damages," by        to aa single
                                                                  citing to    single case from
                                                                                      case from

    two of
 66 two    the seven
        of the       jurisdictions at
               seven jurisdictions    issue.11 Neither
                                   at issue."  Neither case
                                                       case stands for the
                                                            stands for the proposition
                                                                           proposition Defendants
                                                                                       Defendants

 77 claim, and in
    claim, and in any
                  any event, Defendants are
                      event, Defendants are simply
                                            simply rehashing
                                                   rehashing an
                                                             an argument
                                                                argument from
                                                                         from their
                                                                              their motion
                                                                                    motion
                  12
 8
 8    to dismiss.
      to dismiss.'   Their arguments are
                     Their arguments are no
                                         no more
                                            more persuasive
                                                 persuasive now
                                                            now than
                                                                than they
                                                                     they were
                                                                          were then.
                                                                               then. In its Order
                                                                                     In its Order

 99 on the Motion
    on the Motion to
                  to Dismiss,
                     Dismiss, the
                              the Court lists the
                                  Court lists the elements
                                                  elements of public nuisance
                                                           of public nuisance claims in the
                                                                              claims in the
                                                                      13
10
10    seven jurisdictions at
      seven jurisdictions at issue,
                             issue, and
                                    and none
                                        none requires
                                             requires aa duty
                                                         duty of
                                                              of care.
                                                                 care.13

11
11          For the
            For the sweeping
                    sweeping proposition
                             proposition that
                                         that "duty"
                                              “duty” is
                                                     is an
                                                        an element
                                                           element of public nuisance
                                                                   of public nuisance claims in
                                                                                      claims in

12
12    seven
      seven different
            different states—and an element
                      states—and an         that can
                                    element that     be conflated
                                                 can be           with the
                                                        conflated with the duty
                                                                           duty element
                                                                                element of
                                                                                        of aa

13
13    negligence claim—Defendants
      negligence claim—Defendants cite to two
                                  cite to two cases: Little v.
                                              cases: Little v. Union
                                                               Union Tr.
                                                                     Tr. Co.
                                                                         Co. of Md., 412
                                                                             of Md.,     A.2d
                                                                                     412 A.2d

14
14    1251, 1255-56
      1251, 1255–56 (Md.
                    (Md. Ct.
                         Ct. Spec. App. 1980),
                             Spec. App. 1980), and
                                               and Lakoduk
                                                   Lakoduk v. Cruger, 287
                                                           v. Cruger, 287 P.2d
                                                                          P.2d 338,
                                                                               338, 341
                                                                                    341

15
15    (Wash. 1955).14 Neither
      (Wash. 1955).14 Neither stands for that
                              stands for that proposition.
                                              proposition. Little
                                                           Little distinguished between the
                                                                  distinguished between the

   “absolute duty”
16 "absolute
16                 not to
             duty" not to create
                          create or maintain aa nuisance,
                                 or maintain    nuisance, leading to liability
                                                          leading to liability regardless
                                                                               regardless of the
                                                                                          of the

17
17    care used when
      care used when operating the nuisance,
                     operating the nuisance, and
                                             and the
                                                 the "relative
                                                     “relative duty”
                                                               duty" of negligence, which
                                                                     of negligence, which

18
18    depends
      depends on the care
              on the      used in
                     care used in the
                                  the circumstances. Far from
                                      circumstances. Far from adopting
                                                              adopting the
                                                                       the "relative
                                                                           “relative duty”
                                                                                     duty" of
                                                                                           of

19
19    negligence as
      negligence as an
                    an element in nuisance
                       element in nuisance claims, the case
                                           claims, the      stands for
                                                       case stands for the
                                                                       the unremarkable
                                                                           unremarkable

20
20    proposition that
      proposition that there
                       there is
                             is always
                                always aa duty not to
                                          duty not to maintain
                                                      maintain or
                                                               or create
                                                                  create aa nuisance.
                                                                            nuisance.

21
21

22
22
      11
      11 ECF No.
         ECF  No. 278
                  278 at
                      at 5,
                          5, 6 n.1.
                             6 n. 1.
23
23    12
         See ECF
      12 See ECF No.
                  No. 219
                      219 atat 27-28.
                               27–28.
      13
24
24       See ECF
      13 See ECF No.
                  No. 270
                      270 atat 12-13.
                               12–13.
      14
         ECF No.
      14 ECF  No. 278
                  278 at
                      at 66 n.l.
                            n.1.
                                                    99
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                                                           TO
                                                           TO INTERLOCUTORY
                                                              INTERLOCUTORY APPEAL
                                                                            APPEAL && STAY
                                                                                      STAY
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 11         Lakoduk was
            Lakoduk was aa wrongful
                           wrongful death
                                    death action in which
                                          action in which the
                                                          the plaintiffs
                                                              plaintiffs asserted that the
                                                                         asserted that the

 22   defendant
      defendant city’s
                city's operation
                       operation of
                                 of aa traffic
                                       traffic signal “constituted aa trap
                                               signal "constituted    trap or nuisance.” 287
                                                                           or nuisance." 287 P.2d
                                                                                             P.2d at
                                                                                                  at

    339. The
 33 339. The court’s
             court's affirmance
                     affirmance of the dismissal
                                of the dismissal of this claim
                                                 of this claim did not establish
                                                               did not establish aa "duty
                                                                                    “duty

 44 element” for aa public
    element" for    public nuisance
                           nuisance claim,
                                    claim, contrary to Defendants'
                                           contrary to Defendants’ arguments.
                                                                   arguments. As
                                                                              As the
                                                                                 the

 55 Washington
    Washington Supreme
               Supreme Court has recognized,
                       Court has recognized, the
                                             the Washington
                                                 Washington legislature “has defined
                                                            legislature "has defined

 66 ‘nuisance’
    `nuisance' expansively.” Moore v.
               expansively." Moore    Steve’s Outboard
                                   v. Steve's          Serv., 339
                                              Outboard Serv., 339 P.3d
                                                                  P.3d 169,
                                                                       169, 171
                                                                            171 (Wash.
                                                                                (Wash.

    2014). Washington’s
 77 2014). Washington's statutory
                        statutory definition
                                  definition of nuisance recognizes
                                             of nuisance recognizes that
                                                                    that "omitting
                                                                         “omitting to
                                                                                   to perform
                                                                                      perform

 8 aa duty”
 8          is one
      duty" is one context in which
                   context in which aa defendant may be
                                       defendant may be held
                                                        held liable
                                                             liable for
                                                                    for the
                                                                        the creation of aa
                                                                            creation of

    nuisance. See
 99 nuisance. See RCW
                  RCW 7.48.120. In Washington,
                      7.48.120. In             as in
                                   Washington, as in other jurisdictions, "negligence
                                                     other jurisdictions, “negligence is
                                                                                      is
   merely one
10 merely
10            type of
          one type of conduct which may
                      conduct which may give rise to
                                        give rise to aa nuisance."
                                                        nuisance.” Peterson
                                                                   Peterson v. King Cnty.,
                                                                            v. King Cnty.,

   278 P.2d
11 278
11     P.2d 774,
            774, 775 (Wash. 1954)
                 775 (Wash. 1954) (quoting
                                  (quoting Prosser,
                                           Prosser, Torts,
                                                    Torts, 553 (1941)). That
                                                           553 (1941)).      negligent
                                                                        That negligent

12
12    conduct (and the
      conduct (and the corresponding
                       corresponding element
                                     element of
                                             of duty) may give
                                                duty) may      rise to
                                                          give rise to aa public
                                                                          public nuisance
                                                                                 nuisance in
                                                                                          in
   some contexts
13 some
13      contexts does not mean
                 does not mean that
                               that duty is aa standalone
                                    duty is    standalone element of all
                                                          element of all public
                                                                         public nuisance
                                                                                nuisance

14
14    claims. Defendants’ arguments
      claims. Defendants' arguments again
                                    again overlook the well-established
                                          overlook the well-established principle
                                                                        principle that
                                                                                  that "the
                                                                                       “the

   alleged existence
15 alleged
15         existence of
                     of aa nuisance
                           nuisance refers
                                    refers to
                                           to the
                                              the interests
                                                  interests invaded,
                                                            invaded, and
                                                                     and not
                                                                         not to
                                                                             to any
                                                                                any particular
                                                                                    particular

16
16    kind of
      kind of conduct which has
              conduct which has led to the
                                led to the invasion[,]"
                                           invasion[,]” and that "[f]acts
                                                        and that “[f]acts establishing the
                                                                          establishing the

17
17    existence
      existence of
                of aa nuisance
                      nuisance may
                               may be
                                   be alleged
                                      alleged independent
                                              independent of allegations of
                                                          of allegations    negligence.” Id.
                                                                         of negligence." Id.

18
18          Duty is
            Duty is not
                    not aa standalone
                           standalone element
                                      element of public nuisance
                                              of public nuisance in
                                                                 in the
                                                                    the GE Plaintiffs’ jurisdiction
                                                                        GE Plaintiffs' jurisdiction

19
19    or anywhere else.
      or anywhere       As such
                  else. As such there
                                there is
                                      is no
                                         no ground—let
                                            ground—let alone
                                                       alone aa substantial
                                                                substantial one—for
                                                                            one—for difference
                                                                                    difference

20
20    of
      of opinion in allowing
         opinion in allowing the
                             the GE Plaintiffs’ public
                                 GE Plaintiffs' public nuisance
                                                       nuisance claims to proceed.
                                                                claims to proceed.

21
21                        (ii)
                          (ii)   Duty does
                                 Duty  does not
                                            not hinge
                                                hinge on
                                                      on aa special
                                                            special relationship in any
                                                                    relationship in any of
                                                                                        of the
                                                                                           the
                                 jurisdictions with negligence
                                 jurisdictions with negligence claims.
                                                                claims.
22
22

23
23          In each
            In each of the five
                    of the five jurisdictions
                                jurisdictions where
                                              where the
                                                    the GE Plaintiffs bring
                                                        GE Plaintiffs bring negligence
                                                                            negligence claims—
                                                                                       claims-

24
24    Indiana, Missouri,
      Indiana, Missouri, New
                         New York,
                             York, Ohio,
                                   Ohio, and
                                         and Wisconsin—duty is examined
                                             Wisconsin-duty is          based on
                                                               examined based on aa number
                                                                                    number

                                                    10
                                                    10
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                                                              GOVERNMENTAL ENTITIES'  OPP'N
                                                           TO
                                                           TO INTERLOCUTORY
                                                              INTERLOCUTORY APPEAL
                                                                            APPEAL && STAY
                                                                                      STAY
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 1
 1   of factors, regardless
     of factors, regardless of the existence
                            of the existence of
                                             of aa "special
                                                   “special relationship."
                                                            relationship.” See
                                                                           See Webb
                                                                               Webb v. Jarvis, 575
                                                                                    v. Jarvis, 575

    N.E.2d 992,
 22 N.E.2d 992, 995 (Ind. 1991)
                995 (Ind. 1991) (balancing
                                (balancing "(1)
                                           “(1) the
                                                the relationship
                                                    relationship between
                                                                 between the
                                                                         the parties,
                                                                             parties, (2)
                                                                                      (2) the
                                                                                          the

 3
 3   reasonable foreseeability
     reasonable foreseeability of harm to
                               of harm to the
                                          the person
                                              person injured,
                                                     injured, and
                                                              and (3)
                                                                  (3) public
                                                                      public policy
                                                                             policy concerns”);
                                                                                    concerns");

    Hoffman v.
 44 Hoffman v. Union Elec. Co.,
               Union Elec.      176 S.W.3d
                           Co., 176 S.W.3d 706,
                                           706, 708 (Mo. 2005)
                                                708 (Mo. 2005) (en
                                                               (en banc) (weighing "the
                                                                   banc) (weighing “the

    foreseeability of
 55 foreseeability    the injury,
                   of the injury, the
                                  the likelihood
                                      likelihood of the injury,
                                                 of the injury, the
                                                                the magnitude
                                                                    magnitude of the burden
                                                                              of the burden of
                                                                                            of

 66 guarding against it
    guarding against it and
                        and the
                            the consequences
                                consequences of placing that
                                             of placing that burden
                                                             burden on
                                                                    on defendant”); Peralta
                                                                       defendant"); Peralta

 77 v. Henriquez, 790
    v. Henriquez,     N.E.2d 1170,
                  790 N.E.2d 1170, 1173
                                   1173 (N.Y.
                                        (N.Y. 2003)
                                              2003) (considering
                                                    (considering "the
                                                                 “the reasonable
                                                                      reasonable

 8
 8   expectations
     expectations of parties and
                  of parties and society
                                 society generally, the proliferation
                                         generally, the proliferation of
                                                                      of claims, the likelihood
                                                                         claims, the likelihood of
                                                                                                of

    unlimited or
 99 unlimited    insurer-like liability,
              or insurer-like liability, disproportionate risk and
                                         disproportionate risk and reparation
                                                                   reparation allocation,
                                                                              allocation, and
                                                                                          and

10
10   public policies");
     public policies”); Eisenhuth
                        Eisenhuth v. Moneyhon, 119
                                  v. Moneyhon, 119 N.E.2d
                                                   N.E.2d 440,
                                                          440, 443 (Ohio 1954)
                                                               443 (Ohio 1954) (noting
                                                                               (noting that
                                                                                       that

   “due care
11 "due
11           to avoid
        care to avoid injury
                      injury to
                             to others is required"
                                others is required” and
                                                    and determining the standard
                                                        determining the standard of
                                                                                 of conduct
                                                                                    conduct

12
12   as to
     as to due
           due care based on
               care based    “judicial decisions
                          on "judicial decisions on identical or
                                                 on identical or similar facts[] or
                                                                 similar facts[] or .. .. .. by
                                                                                             by aa

13
13   consideration by the
     consideration by the trial
                          trial judge
                                judge or jury of
                                      or jury    the facts
                                              of the facts and
                                                           and circumstances
                                                               circumstances of the particular
                                                                             of the particular

14
14   case”); Brashear v.
     case"); Brashear    Liebert Corp.,
                      v. Liebert        No. 06AP-252,
                                 Corp., No.           2007 WL
                                            06AP-252, 2007    184888, at
                                                           WL 184888, at *3 (Ohio Ct.
                                                                         *3 (Ohio     App.
                                                                                  Ct. App.

15
15   Jan. 25, 2007)
     Jan. 25, 2007) (considering
                    (considering "the
                                 “the relationship between the
                                      relationship between the parties
                                                               parties and the foreseeability
                                                                       and the foreseeability of
                                                                                              of

16
16   injury to
     injury to someone in the
               someone in the plaintiff's
                              plaintiff’s position");
                                          position”); Stephenson
                                                      Stephenson v.
                                                                 v. Universal Metrics, Inc.,
                                                                    Universal Metrics, Inc., 641
                                                                                             641

   N.W.2d 158,
17 N.W.2d
17        158, 163
               163 (Wis.
                   (Wis. 2002)
                         2002) ("Wisconsin
                               (“Wisconsin follows
                                           follows the
                                                   the approach
                                                       approach of
                                                                of the
                                                                   the dissent in the
                                                                       dissent in the well-
                                                                                      well-

18
18   known Palsgraf
     known Palsgraf v. Long Island
                    v. Long Island R.R.
                                   R.R. Co., 248 N.Y.
                                        Co., 248 N.Y. 339
                                                      339 (N.Y.
                                                          (N.Y. 1928)
                                                                1928) decision”
                                                                      decision" such that
                                                                                such that

   “every person
19 "every
19        person owes
                 owes aa duty to the
                         duty to the world
                                     world at
                                           at large
                                              large to
                                                    to refrain
                                                       refrain from
                                                               from conduct that could
                                                                    conduct that could cause
                                                                                       cause

20
20   foreseeable harm
     foreseeable harm to
                      to others,
                         others, even though the
                                 even though the identity
                                                 identity of the person
                                                          of the person harmed
                                                                        harmed has
                                                                               has not
                                                                                   not been
                                                                                       been

21
21   established at the
     established at the time
                        time of the conduct.”)
                             of the            (citation omitted).
                                    conduct.") (citation omitted).

22
22         As the
           As the case law in
                  case law in each
                              each of the above
                                   of the above jurisdictions
                                                jurisdictions shows,
                                                              shows, aa special relationship is
                                                                        special relationship is

23
23   not necessary
     not necessary to
                   to recognize
                      recognize aa legal
                                   legal duty.
                                         duty.

24
24
                                                   11
                                                   11
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                                                            GOVERNMENTAL ENTITIES'  OPP'N
                                                         TO
                                                         TO INTERLOCUTORY
                                                            INTERLOCUTORY APPEAL
                                                                          APPEAL && STAY
                                                                                    STAY
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 11           Indiana and
              Indiana and Missouri:
                          Missouri: Defendants
                                    Defendants concede that Missouri
                                               concede that Missouri and
                                                                     and Indiana
                                                                         Indiana "do
                                                                                 “do not
                                                                                     not

    feature bright-line
 22 feature bright-line special-relationship
                        special-relationship requirements"
                                             requirements” and
                                                           and instead
                                                               instead attempt
                                                                       attempt to
                                                                               to relitigate
                                                                                  relitigate their
                                                                                             their

    motion to
 33 motion to dismiss briefing on
              dismiss briefing on legal
                                  legal duty in those
                                        duty in       jurisdictions.15 For
                                                those jurisdictions.15 For support, Defendants
                                                                           support, Defendants

    rely on
 44 rely on aa decision from the
               decision from the Missouri
                                 Missouri Court
                                          Court of Appeals that
                                                of Appeals that the
                                                                the GE Plaintiffs already
                                                                    GE Plaintiffs already

 55 distinguished as being
    distinguished as being "markedly
                           “markedly different when the
                                     different when the defendants are manufacturers
                                                        defendants are manufacturers selling
                                                                                     selling

    millions of
 66 millions of cars without anti-theft
                cars without anti-theft technology
                                        technology rather
                                                   rather than
                                                          than individual
                                                               individual car
                                                                          car owners
                                                                              owners

    inadvertently leaving
 77 inadvertently leaving their
                          their keys
                                keys in
                                     in their vehicles.”16 Defendants
                                        their vehicles."16 Defendants also
                                                                      also incorrectly
                                                                           incorrectly state
                                                                                       state that
                                                                                             that

   the Court
 8 the
 8           failed to
       Court failed to balance
                       balance "(1)
                               “(1) the
                                    the relationship
                                        relationship between
                                                     between the
                                                             the parties,
                                                                 parties, (2)
                                                                          (2) the
                                                                              the reasonable
                                                                                  reasonable
                                                            17
    foreseeability of
 99 foreseeability    harm, and
                   of harm, and (3)
                                (3) public policy concerns.”
                                    public policy concerns."'  Accordingly, the
                                                               Accordingly, the Court
                                                                                Court correctly
                                                                                      correctly

10
10    considered relevant factors
      considered relevant factors in
                                  in finding
                                     finding aa duty under both
                                                duty under both Indiana
                                                                Indiana and
                                                                        and Missouri
                                                                            Missouri law.
                                                                                     law.

11
11            Despite overwhelming
              Despite              authority to
                      overwhelming authority to the
                                                the contrary, Defendants maintain
                                                    contrary, Defendants maintain that
                                                                                  that aa special
                                                                                          special

   relationship is
12 relationship
12              is required
                   required to
                            to establish
                               establish aa duty under the
                                            duty under the common law of
                                                           common law    New York,
                                                                      of New       Ohio, and
                                                                             York, Ohio, and
                 18
13
13    Wisconsin.
      Wisconsin."   But Defendants
                    But Defendants misread
                                   misread the
                                           the cases
                                               cases on which they
                                                     on which they rely.
                                                                   rely.

14
14
      15
           ECF No. 278 at 7.
      15 ECF No. 278 at 7.
15
15    16
      16 Governmental Entities’ Corrected
         Governmental Entities'           Opp’n Mot.
                                Corrected Opp'n Mot. Dismiss
                                                     Dismiss at
                                                             at 15-16
                                                                15–16 (Oct.
                                                                      (Oct. 3,
                                                                            3, 2023),
                                                                               2023), ECF
                                                                                      ECF
16
16     No. 240.
       No. 240.
      17
         ECF No.
      17 ECF No. 278
                 278 at
                     at 7–8 (citing Neal
                        7—8 (citing Neal v. IAB Fin.
                                         v. IAB Fin. Bank,
                                                     Bank, 68
                                                           68 N.E.3d
                                                              N.E.3d 1114,1117
                                                                     1114, 1117 (Ind.
                                                                                (Ind. Ct.
                                                                                      Ct.
17
17   App. 2017);
     App.  2017); contra    ECF No.
                   contra ECF      No. 270
                                        270 at
                                             at 8-9
                                                 8–9 (recognizing
                                                      (recognizing both both the
                                                                             the relationship
                                                                                  relationship between
                                                                                                between thethe
     parties and
     parties and foreseeability
                  foreseeability of    harm given
                                   of harm            “the public
                                              given "the     public nature
                                                                     nature of
                                                                             of automobiles"
                                                                                 automobiles” andand finding
                                                                                                      finding
18 "GE
18   “GE Plaintiffs'
          Plaintiffs’ public
                       public policy
                               policy argument
                                        argument in  in favor
                                                        favor ofof aa duty”  as "more
                                                                      duty" as  “more availing"
                                                                                         availing” than
                                                                                                    than
     Defendants’ warning
     Defendants'   warning of of aa slippery
                                    slippery slope
                                               slope of   liability).
                                                      of liability).
19 18
19    Defendants also
   " Defendants     also argue
                         argue that
                                that aa special
                                         special relationship
                                                  relationship is is required
                                                                      required for
                                                                                for Maryland
                                                                                     Maryland and
                                                                                                and
20 Washington.
20   Washington. ECFECF No.
                          No. 278
                               278 atat 5–6.   As the
                                         5-6. As   the GE    Plaintiffs noted
                                                        GE Plaintiffs    noted in   their opposition
                                                                                 in their opposition toto the
                                                                                                          the
     motion to
     motion  to dismiss,   Defendants’ reliance
                dismiss, Defendants'       reliance on    authority discussing
                                                      on authority     discussing duty    in negligence
                                                                                    duty in  negligence
21 claims
21           under these
     claims under   these two
                           two states'
                                states’ laws
                                          laws is
                                                is irrelevant
                                                   irrelevant because
                                                                 because those
                                                                           those GE    Plaintiffs did
                                                                                   GE Plaintiffs       not
                                                                                                  did not
     bring negligence
     bring negligence claims.      ECF No.
                         claims. ECF      No. 240
                                               240 at
                                                    at 37
                                                       37 n.16.
                                                            n.16. Defendants
                                                                   Defendants attempt
                                                                                  attempt to
                                                                                           to muddy
                                                                                              muddy thethe
22 waters
22   waters by
             by claiming
                claiming duty
                            duty as
                                  as aa requirement
                                        requirement for for all
                                                             all public  nuisance claims,
                                                                 public nuisance              but their
                                                                                     claims, but  their
     reasoning is
     reasoning  is flawed.
                   flawed. Supra
                             Supra atat 8-10.
                                         8–10. Defendants
                                                Defendants are       also wrong
                                                                are also  wrong that
                                                                                   that Maryland
                                                                                        Maryland andand
23
23
     Washington    impose aa special
     Washington impose                   relationship requirement.
                              special relationship       requirement. SeeSee ECF
                                                                              ECF No.No. 278
                                                                                          278 at
                                                                                               at 5–6  (citing
                                                                                                  5-6 (citing
     Ashburn v.
24 Ashburn
24                Anne Arundel
               v. Anne  Arundel Cnty.,
                                    Cnty., 510    A.2d 1078,1083
                                            510 A.2d     1078, 1083 (Md.(Md. 1986)).
                                                                              1986)). Maryland
                                                                                        Maryland follows
                                                                                                    follows

                                                         12
                                                         12
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                                    GOVERNMENTAL  ENTITIES’ OPP’N
                                                                    GOVERNMENTAL ENTITIES'  OPP'N
                                                                 TO
                                                                 TO INTERLOCUTORY
                                                                    INTERLOCUTORY APPEAL
                                                                                  APPEAL && STAY
                                                                                            STAY
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 1
 1           New York:
             New York: In Hamilton v.
                       In Hamilton    Beretta U.S.A.
                                   v. Beretta        Corporation, 750
                                              U.S.A. Corporation,     N.E.2d 1055
                                                                  750 N.E.2d 1055 (N.Y.
                                                                                  (N.Y.

22   2001), the
     2001), the court’s rejection of
                court's rejection of aa legal
                                        legal duty was not
                                              duty was not specifically tied to
                                                           specifically tied to the
                                                                                the lack
                                                                                    lack of
                                                                                         of aa special
                                                                                               special

3
3    relationship between
     relationship between the
                          the parties.
                              parties. Rather,
                                       Rather, the
                                               the court
                                                   court considered
                                                         considered aa multitude
                                                                       multitude of public policy
                                                                                 of public policy

 44 considerations and distinguished
    considerations and               other cases
                       distinguished other       involving the
                                           cases involving the "failure
                                                               “failure to
                                                                        to include
                                                                           include aa safety
                                                                                      safety

    feature” because,
 55 feature" because, in
                      in Hamilton,
                         Hamilton, the
                                   the "defendants'
                                       “defendants’ [firearm]
                                                    [firearm] products
                                                              products are
                                                                       are concededly not
                                                                           concededly not

 66 defective—if anything, the
    defective—if anything, the problem is that
                               problem is that they
                                               they work
                                                    work too
                                                         too well."
                                                             well.” Id.
                                                                    Id. at
                                                                        at 1062-63.
                                                                           1062–63. Nor
                                                                                    Nor did
                                                                                        did

    the Hamilton
 77 the Hamilton court find sufficient
                 court find sufficient evidence “to demonstrate
                                       evidence "to             that defendants
                                                    demonstrate that defendants could have
                                                                                could have

 8
 8   taken reasonable
     taken reasonable steps that would
                      steps that would have
                                       have prevented
                                            prevented [the
                                                      [the plaintiffs’] injuries.” Id.
                                                           plaintiffs'] injuries." Id. at 1063.19
                                                                                       at 1063.19

    Hamilton is
 99 Hamilton is distinguishable from the
                distinguishable from the instant
                                         instant case and Defendants'
                                                 case and Defendants’ disagreement with the
                                                                      disagreement with the

10
10   Court’s reasoning
     Court's reasoning does not warrant
                       does not warrant an
                                        an interlocutory
                                           interlocutory appeal.
                                                         appeal.

11
11           Ohio: Defendants’ reliance
             Ohio: Defendants' reliance on
                                        on an
                                           an Ohio
                                              Ohio Court
                                                   Court of Appeals case
                                                         of Appeals case is
                                                                         is similarly
                                                                            similarly

12
12   unavailing.20 In
     unavailing.20 In Hinkle,
                      Hinkle, aa case involving aa child’s
                                 case involving    child's death resulting from
                                                           death resulting from access to an
                                                                                access to an

13
13

14
14     section  324A of
       section 324A        the Restatement
                        of the   Restatement (Second)
                                                   (Second) of of Torts   and imposes
                                                                   Torts and   imposes no no such     requirement,
                                                                                               such requirement,
       “even when
       "even   when the
                      the alleged
                           alleged harm
                                      harm was
                                             was based
                                                     based on   the intentional,
                                                            on the   intentional, criminal      acts of
                                                                                    criminal acts         third
                                                                                                     of third
15
15     parties.” Winffel
       parties."  Winffel v.v. Westfield    Prop. Mgmt.,
                                Westfield Prop.       Mgmt., LLC,
                                                               LLC, 435     F. Supp.
                                                                       435 F.   Supp. 3d3d 686,
                                                                                           686, 691
                                                                                                  691 (D.
                                                                                                        (D. Md.Md.
16
16     2020) (citing
       2020)   (citing Bias
                       Bias v.    IPC Int
                               v. IPC   Int’l
                                           1 Corp.,     107 F.3d
                                               Corp., 107     F.3d 865,    1997 WL
                                                                    865, 1997           100925 (4th
                                                                                  WL 100925       (4th Cir.     1997)
                                                                                                         Cir. 1997)
       (unpublished table
       (unpublished     table decision)).
                               decision)). To To thethe extent   Defendants rely
                                                        extent Defendants       rely on  Donohoe v.
                                                                                      on Donohoe       v.
17
17     Washington,
       Washington, 142 142 P.3d
                             P.3d 654,    660 (Wash.
                                    654, 660     (Wash. Ct.    App. 2006)
                                                           Ct. App.    2006) toto argue
                                                                                  argue for
                                                                                          for aa special
                                                                                                 special
       relationship requirement
       relationship   requirement underunder Washington
                                               Washington law,   law, that
                                                                       that case
                                                                            case isis inapposite.
                                                                                      inapposite. Unlike
                                                                                                    Unlike here,here,
18
18     Donohoe examined
       Donohoe     examined the  the special   relationship requirement
                                      special relationship      requirement as   as an
                                                                                    an exception
                                                                                        exception to to the
                                                                                                         the public
                                                                                                               public
       duty
       duty doctrine,    which would
             doctrine, which       would have
                                          have otherwise        immunized the
                                                   otherwise immunized         the State   from suit.
                                                                                    State from    suit. See
                                                                                                          See 142
                                                                                                               142
19
19     P.3d at
       P.3d  at 658-60.
                658–60.
     19
20
20      If anything,
     19 If anything, the
                       the Hamilton
                            Hamilton decision         itself indicates
                                         decision itself     indicates why
                                                                         why interlocutory
                                                                                interlocutory appeal
                                                                                                 appeal on      the
                                                                                                           on the
       existing  record is
       existing record    is unwarranted.
                             unwarranted. See   See InIn re Sept. 11
                                                         re Sept.   11 Litig.,
                                                                        Litig., 2003
                                                                                 2003 WL     22251325, at
                                                                                        WL 22251325,         at *4
                                                                                                                 *4
21
21     (distinguishing Hamilton,
       (distinguishing    Hamilton, wherewhere thethe "Court
                                                       “Court of    Appeals addressed
                                                                 of Appeals    addressed the the issue
                                                                                                 issue of of duty
                                                                                                              duty of
                                                                                                                    of
       gun  manufacturers to
       gun manufacturers        to victims
                                   victims ofof gun    violence following
                                                  gun violence     following full
                                                                                full development
                                                                                      development of   of the
                                                                                                           the record,
                                                                                                                 record,
22
22     including trial[,]"
       including   trial[,]” and
                              and finding
                                    finding interlocutory
                                              interlocutory appeal
                                                                appeal inappropriate
                                                                         inappropriate where
                                                                                           where "a“a factual
                                                                                                        factual
       record will
       record   will facilitate
                     facilitate intelligent
                                  intelligent review
                                                review and     authoritative determination
                                                          and authoritative      determination of      the issues
                                                                                                   of the    issues of
                                                                                                                     of
23
23
       duty  raised by
       duty raised   by these
                         these cases.”).
                                  cases.").
     20
24
24      ECF No.
     20 ECF   No. 278
                    278 at
                         at 66 (citing
                               (citing Estate
                                         Estate of of Ciotto
                                                      Ciotto v.   Hinkle, 145
                                                              v. Hinkle,    145 N.E.3d
                                                                                  N.E.3d 1013,
                                                                                           1013, 1020
                                                                                                   1020 (Ohio
                                                                                                            (Ohio Ct.
                                                                                                                    Ct.
       App. 2019)).
       App.   2019)).
                                                              13
                                                              13
      NO. 8:22-ML-03052-JVS-KES
      NO. 8:22-ML-03052-JVS-KES                                          GOVERNMENTAL  ENTITIES’ OPP’N
                                                                         GOVERNMENTAL ENTITIES'  OPP'N
                                                                      TO
                                                                      TO INTERLOCUTORY
                                                                         INTERLOCUTORY APPEAL
                                                                                       APPEAL && STAY
                                                                                                 STAY
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    unsecured firearm,
 11 unsecured firearm, the
                       the court
                           court examined
                                 examined duty based on
                                          duty based    the distinct
                                                     on the distinct common law for
                                                                     common law for

    premises liability
 22 premises liability and
                       and failure
                           failure to
                                   to act.
                                      act. 145
                                           145 N.E.3d
                                               N.E.3d at
                                                      at 1018.
                                                         1018. But
                                                               But there
                                                                   there is
                                                                         is aa difference between
                                                                               difference between

    property owners
 33 property        who do
             owners who    not necessarily
                        do not necessarily owe
                                           owe "a
                                               “a duty to protect
                                                  duty to protect persons
                                                                  persons such
                                                                          such as business
                                                                               as business

    invitees from
 44 invitees from the
                  the negligence
                      negligence or
                                 or criminal acts of
                                    criminal acts    third parties
                                                  of third parties that
                                                                   that occur
                                                                        occur outside the owner’s
                                                                              outside the owner's

    property and
 55 property and beyond
                 beyond the
                        the owner’s
                            owner's control” and aa product
                                    control" and    product manufacturer's
                                                            manufacturer’s own negligence
                                                                           own negligence

    in "manufacturing,
 66 in “manufacturing, marketing,
                       marketing, and
                                  and distributing”
                                      distributing" aa product
                                                       product in
                                                               in such
                                                                  such aa way
                                                                          way "that
                                                                              “that results
                                                                                    results in
                                                                                            in

    foreseeable injury."
 77 foreseeable injury.” City
                         City of
                              of Cincinnati
                                 Cincinnati v. Beretta U.S.A.
                                            v. Beretta        Corp., 768
                                                       U.S.A. Corp.,     N.E.2d 1136,
                                                                     768 N.E.2d 1136, 1144
                                                                                      1144

   (Ohio 2002).
 8 (Ohio
 8       2002). Where, as here,
                Where, as here, GE Plaintiffs are
                                GE Plaintiffs are considered “foreseeable plaintiffs"
                                                  considered "foreseeable plaintiffs” in
                                                                                      in light
                                                                                         light

 99 of the public
    of the public nature
                  nature of automobiles and
                         of automobiles     the necessity
                                        and the necessity of
                                                          of GE Plaintiffs’ response
                                                             GE Plaintiffs' response to
                                                                                     to vehicle
                                                                                        vehicle
   thefts, "the
10 thefts,
10         “the court need not
                court need not decide whether Defendants
                               decide whether Defendants owed
                                                         owed aa duty
                                                                 duty greater than the
                                                                      greater than the basic
                                                                                       basic

11
11   duty.” Id. at
     duty." Id. at 1145
                   1145 (citations
                        (citations omitted); see also
                                   omitted); see also Pavlides
                                                      Pavlides v. Niles Gun
                                                               v. Niles     Show, Inc.,
                                                                        Gun Show, Inc., 637
                                                                                        637

   N.E.2d 404,
12 N.E.2d
12        404, 410 (Ohio Ct.
               410 (Ohio Ct. App.
                             App. 1994)
                                  1994) (reversing
                                        (reversing decision that gun
                                                   decision that     show had
                                                                 gun show had no
                                                                              no duty to
                                                                                 duty to

   protect the
13 protect
13         the public
               public because
                      because it
                              it was
                                 was foreseeable
                                     foreseeable that
                                                 that unsupervised
                                                      unsupervised minors
                                                                   minors "could
                                                                          “could be
                                                                                 be lured
                                                                                    lured

   into stealing
14 into
14               an unsecured
        stealing an unsecured firearm"
                              firearm” and
                                       and using
                                           using it
                                                 it to
                                                    to intentionally
                                                       intentionally shoot
                                                                     shoot others).
                                                                           others).

15
15            Wisconsin: Last, Defendants'
              Wisconsin: Last, Defendants’ selective reliance on
                                           selective reliance on Wisconsin
                                                                 Wisconsin authority
                                                                           authority

   misconstrues the
16 misconstrues
16              the relevant precedent.21 Jankee
                    relevant precedent.'  Jankee is
                                                 is an
                                                    an aberration
                                                       aberration in
                                                                  in Wisconsin’s
                                                                     Wisconsin's case law that
                                                                                 case law that

   the State’s
17 the
17     State's Supreme
               Supreme Court has since
                       Court has since corrected. In Jankee,
                                       corrected. In Jankee, the
                                                             the court wrote that
                                                                 court wrote that aa "person
                                                                                     “person

18 owes
18      no duty
   owes no      to aid
           duty to aid or protect aa third
                       or protect    third party unless the
                                           party unless the person
                                                            person stands
                                                                   stands in
                                                                          in aa special
                                                                                special

   relationship,” citing
19 relationship,"
19                       Schuster v.
                  citing Schuster    Altenberg, 424
                                  v. Altenberg,     N.W.2d 159,
                                                424 N.W.2d 159, 165
                                                                165 n.3.
                                                                    n.3. (Wis.
                                                                         (Wis. 1988).
                                                                               1988). 612
                                                                                      612

   N.W.2d at
20 N.W.2d
20        at 322.
             322. But
                  But Schuster
                      Schuster says the opposite,
                               says the           writing that
                                        opposite, writing that "we
                                                               “we need
                                                                   need not
                                                                        not engage in [the]
                                                                            engage in [the]

   analytical gymnastics”
21 analytical
21            gymnastics" of first noting
                          of first noting "a
                                          “a person
                                             person owes no duty
                                                    owes no      to control
                                                            duty to         the conduct
                                                                    control the         of
                                                                                conduct of

   another .. .. .. and
22 another
22                  and then
                        then finding
                             finding [an]
                                     [an] exception to that
                                          exception to that general rule where
                                                            general rule where the
                                                                               the defendant stands
                                                                                   defendant stands

   in aa special
23 in
23               relationship.” 424
         special relationship."     N.W.2d at
                                424 N.W.2d at 165
                                              165 n.3.
                                                  n.3. That is because
                                                       That is because Wisconsin
                                                                       Wisconsin does not ask
                                                                                 does not ask

24
24   21
          ECF No. 278 at 6 (citing Jankee v. Clark Cnty., 612 N.W.2d 297, 322 (Wis. 2000)).
     21 ECF No. 278 at 6 (citing Jankee v. Clark Cnty., 612 N.W.2d 297, 322 (Wis. 2000)).
                                                   14
                                                   14
      NO. 8:22-ML-03052-JVS-KES
      NO. 8:22-ML-03052-JVS-KES                              GOVERNMENTAL  ENTITIES’ OPP’N
                                                             GOVERNMENTAL ENTITIES'  OPP'N
                                                          TO
                                                          TO INTERLOCUTORY
                                                             INTERLOCUTORY APPEAL
                                                                           APPEAL && STAY
                                                                                     STAY
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    “whether the
 11 "whether the defendant
                 defendant owed
                           owed aa ‘duty’ to the
                                   `duty' to the particular
                                                 particular victim."
                                                            victim.” Gritzner
                                                                     Gritzner v. Michael R.,
                                                                              v. Michael R.,

 22   611 N.W.2d 906,
      611 N.W.2d 906, 913 (Wis. 2000).
                      913 (Wis. 2000). As
                                       As explained
                                          explained above
                                                    above and
                                                          and reiterated
                                                              reiterated after Jankee was
                                                                         after Jankee was

 33   decided, “[i]n Wisconsin,
      decided, "[i]n Wisconsin, everyone has aa duty
                                everyone has         to act
                                                duty to act with
                                                            with reasonable
                                                                 reasonable care.”
                                                                            care." Gritzner,
                                                                                   Gritzner, 611
                                                                                             611

    N.W.2d at
 44 N.W.2d at 913; see supra
              913; see supra at
                             at 11
                                11 (citing
                                   (citing Stephenson,
                                           Stephenson, 251
                                                       251 Wis. 2d at
                                                           Wis. 2d at 186-91
                                                                      186–91 ("every
                                                                             (“every person
                                                                                     person

 55 owes
    owes aa duty to the
            duty to the world
                        world at
                              at large to refrain
                                 large to refrain from
                                                  from conduct that could
                                                       conduct that could cause
                                                                          cause foreseeable harm
                                                                                foreseeable harm

    to others,
 66 to others, even though the
               even though the identity
                               identity of the person
                                        of the person harmed
                                                      harmed has
                                                             has not
                                                                 not been
                                                                     been established at the
                                                                          established at the

    time of
 77 time    the conduct”)).
         of the conduct")). To the extent
                            To the extent some
                                          some courts have denied
                                               courts have        liability on
                                                           denied liability    the basis
                                                                            on the basis that
                                                                                         that an
                                                                                              an

   actor had
 8 actor
 8       had no
             no "duty"
                “duty” to
                       to the
                          the injured
                              injured party, as Jankee
                                      party, as Jankee seems to, the
                                                       seems to, the Wisconsin
                                                                     Wisconsin Supreme
                                                                               Supreme Court
                                                                                       Court

    has repeatedly
 99 has repeatedly made
                   made clear that such
                        clear that such decisions are essentially
                                        decisions are essentially ones
                                                                  ones of public policy
                                                                       of public policy and
                                                                                        and not
                                                                                            not

10
10    duty
      duty or
           or causation.
              causation. Gritzner,
                         Gritzner, 611 N.W.2d at
                                   611 N.W.2d at 913 (collecting cases).
                                                 913 (collecting cases).

11
11            Wisconsin’s broad recognition
              Wisconsin's broad recognition of
                                            of aa legal
                                                  legal duty is also
                                                        duty is also consistent with the
                                                                     consistent with the principles
                                                                                         principles

12
12    of the Restatement
      of the Restatement (Second)
                         (Second) of
                                  of Torts section 324A,
                                     Torts section 324A, which
                                                         which Wisconsin
                                                               Wisconsin courts have relied
                                                                         courts have relied

13
13    on to conclude
      on to conclude aa party
                        party owed
                              owed aa duty to protect
                                      duty to protect another
                                                      another in
                                                              in the
                                                                 the absence
                                                                     absence of
                                                                             of aa special
                                                                                   special

   relationship. See
14 relationship.
14               See Stephenson,
                     Stephenson, 641
                                 641 N.W.2d
                                     N.W.2d at
                                            at 163
                                               163 (overruling
                                                   (overruling objection that no
                                                               objection that no duty
                                                                                 duty existed
                                                                                      existed

   to protect
15 to
15    protect against
              against criminal
                      criminal conduct in the
                               conduct in the absence
                                              absence of
                                                      of aa special relationship). Put
                                                            special relationship). Put plainly,
                                                                                       plainly,

16
16    Wisconsin authority supports
      Wisconsin authority          this Court’s
                          supports this         recognition of
                                        Court's recognition of aa duty to "exercise
                                                                  duty to “exercise reasonable
                                                                                    reasonable

17
17    care in the
      care in the design and manufacture
                  design and manufacture of Defendants’ vehicles"
                                         of Defendants' vehicles” given the foreseeability
                                                                  given the foreseeability of
                                                                                           of
                                                     22
   harm and
18 harm
18      and Defendants'
            Defendants’ knowledge
                        knowledge and
                                  and prior
                                      prior conduct.
                                            conduct.'

19
19            In sum,
              In      Defendants fail
                 sum, Defendants fail to
                                      to show
                                         show that
                                              that there
                                                   there is
                                                         is aa substantial
                                                               substantial ground for difference
                                                                           ground for difference of
                                                                                                 of

20
20    opinion
      opinion on the Court’s
              on the         imposition of
                     Court's imposition of aa duty
                                              duty on Defendants. Foreseeability,
                                                   on Defendants. Foreseeability, along
                                                                                  along with
                                                                                        with aa

   multitude of
21 multitude
21              public policy
             of public policy considerations,
                              considerations, support the imposition
                                              support the imposition of
                                                                     of aa duty under the
                                                                           duty under the laws
                                                                                          laws

22
22    of
      of each
         each of the five
              of the five states
                          states where
                                 where GE Plaintiffs brought
                                       GE Plaintiffs brought negligence
                                                             negligence claims.
                                                                        claims.

23
23

24
24    22
           ECF No. 270 at 9.
      22 ECF No. 270 at 9.
                                                    15
                                                    15
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                              GOVERNMENTAL  ENTITIES’ OPP’N
                                                              GOVERNMENTAL ENTITIES'  OPP'N
                                                           TO
                                                           TO INTERLOCUTORY
                                                              INTERLOCUTORY APPEAL
                                                                            APPEAL && STAY
                                                                                      STAY
      Case 8:22-ml-03052-JVS-KES Document 285 Filed 12/29/23 Page 22 of 27 Page ID
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 1
 1          3.
            3.     Immediate Appeal Would
                   Immediate Appeal Would Delay
                                          Delay the
                                                the Termination
                                                    Termination of
                                                                of the
                                                                   the Litigation.
                                                                       Litigation.

 22         Immediate appeal
            Immediate appeal will
                             will only prolong and
                                  only prolong and delay this litigation,
                                                   delay this litigation, even if Defendants
                                                                          even if Defendants

 3
 3    were to
      were to prevail
              prevail on appeal. See,
                      on appeal. See, e.g., Miesen v.
                                      e.g.,Miesen     Henderson, No.
                                                   v. Henderson, No. 1:10-cv-00404-DCN,
                                                                     1:10-cv-00404-DCN, 2022
                                                                                        2022

 44 WL 392931, at
    WL 392931, at *8 (D. Idaho
                  *8 (D.       Feb. 9,
                         Idaho Feb.    2022) (Decision
                                    9, 2022) (Decision denying
                                                       denying § 1292(b) certification,
                                                               § 1292(b) certification,

    noting: "if
 55 noting: “if an
                an immediate
                   immediate appeal
                             appeal was
                                    was decided in Miesen's
                                        decided in Miesen’s favor,
                                                            favor, it
                                                                   it would
                                                                      would not
                                                                            not ‘avoid
                                                                                `avoid

    protracted and
 66 protracted and expensive litigation’ or
                   expensive litigation' or end the lawsuit.
                                            end the lawsuit. Rather,
                                                             Rather, it
                                                                     it would
                                                                        would likely
                                                                              likely trigger
                                                                                     trigger more
                                                                                             more

    motions .. .. .. and
 77 motions          and aa series
                            series of trial objections.”).
                                   of trial objections."). That is because
                                                           That is because the
                                                                           the subset
                                                                               subset of
                                                                                      of questions
                                                                                         questions

 8
 8    proposed to
      proposed to be
                  be certified will not
                     certified will not resolve
                                        resolve the
                                                the other
                                                    other outstanding
                                                          outstanding claims
                                                                      claims of
                                                                             of governmental
                                                                                governmental

 99 entities
    entities cases
             cases on file or
                   on file    those that
                           or those that file
                                         file in
                                              in the
                                                 the future.
                                                     future. An
                                                             An answer to Defendants'
                                                                answer to Defendants’ subset
                                                                                      subset of
                                                                                             of

10
10    duty
      duty questions will not
           questions will not advance
                              advance the
                                      the cases
                                          cases of Louisville, Kentucky
                                                of Louisville, Kentucky and
                                                                        and Chicago, Illinois,
                                                                            Chicago, Illinois,
                                                                              23
11
11    whose jurisdictions
      whose jurisdictions are
                          are not
                              not among
                                  among the
                                        the seven for which
                                            seven for which review
                                                            review is
                                                                   is sought.
                                                                      sought.23  Nor would
                                                                                 Nor would such
                                                                                           such

12
12    an answer
      an answer dispose
                dispose entirely
                        entirely of the GE
                                 of the    Plaintiffs’ claims
                                        GE Plaintiffs'        Defendants seek
                                                       claims Defendants seek to
                                                                              to appeal,
                                                                                 appeal, such as
                                                                                         such as

13
13    the unjust
      the unjust enrichment
                 enrichment claims. In complex
                            claims. In         actions, such
                                       complex actions,      as this
                                                        such as this one,
                                                                     one, piecemeal interlocutory
                                                                          piecemeal interlocutory

14
14    review of
      review    issues not
             of issues not applicable
                           applicable to
                                      to every member case
                                         every member      would create
                                                      case would        an administrative
                                                                 create an administrative

15
15    logjam, prolonging
      logjam, prolonging the
                         the ultimate
                             ultimate termination
                                      termination of the MDL,
                                                  of the MDL, and
                                                              and not
                                                                  not advancing
                                                                      advancing it.
                                                                                it. See
                                                                                    See In
                                                                                        In re
                                                                                           re

   Facebook, Inc.,
16 Facebook,
16           Inc., IPO
                   IPO Sec.
                       Sec. &
                            & Derivative
                              Derivative Litig.,
                                         Litig., 986 F. Supp.
                                                 986 F.       2d 524,
                                                        Supp. 2d 524, 531 (S.D.N.Y. 2014).
                                                                      531 (S.D.N.Y. 2014).

17
17          Additionally, immediate
            Additionally, immediate review
                                    review of
                                           of aa subset
                                                 subset of
                                                        of cases in an
                                                           cases in an MDL
                                                                       MDL with
                                                                           with multiple
                                                                                multiple tracks
                                                                                         tracks

18
18    eviscerates the efficiencies
      eviscerates the              to be
                      efficiencies to be gained through coordination,
                                         gained through               frustrates the
                                                        coordination, frustrates the purposes
                                                                                     purposes of
                                                                                              of

19
19    the MDL
      the MDL device, and complicates
              device, and             and delays
                          complicates and        the ultimate
                                          delays the ultimate termination
                                                              termination of the litigation.
                                                                          of the litigation.

   See, e.g.,
20 See,
20            In re
        e.g., In    Refrigerant Compressors
                 re Refrigerant             Antitrust Litig.,
                                Compressors Antitrust Litig., No.
                                                              No. 2:09-md-02042,
                                                                  2:09-md-02042, 2013
                                                                                 2013 WL
                                                                                      WL

21
21    4009023, at *5
      4009023, at    (E.D. Mich.
                  *5 (E.D. Mich. Aug.
                                 Aug. 5, 2013) (interlocutory
                                      5, 2013) (interlocutory review
                                                              review of
                                                                     of one
                                                                        one set
                                                                            set of
                                                                                of cases would
                                                                                   cases would

22
22    either require delaying
      either require delaying discovery in all
                              discovery in all the
                                               the cases
                                                   cases or placing one
                                                         or placing     track on
                                                                    one track on aa different
                                                                                    different

23
23    23
        Chicago’s motion to dismiss will not be ripe for appeal until, at the earliest, March 18,
      23 Chicago's motion to dismiss will not be ripe for appeal until, at the earliest, March 18,

24
24     2024. See
       2024. See Order Extending Defs.'
                 Order Extending Defs.’ Time   to Respond
                                         Time to  Respond First
                                                           First Am.
                                                                 Am. Compl.
                                                                       Compl. (Dec.
                                                                                (Dec. 18,
                                                                                        18, 2023),
                                                                                            2023),
       ECF No.
       ECF  No. 282.
                282.
                                                   16
                                                   16
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                             GOVERNMENTAL  ENTITIES’ OPP’N
                                                             GOVERNMENTAL ENTITIES'  OPP'N
                                                          TO
                                                          TO INTERLOCUTORY
                                                             INTERLOCUTORY APPEAL
                                                                           APPEAL && STAY
                                                                                     STAY
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 1
 1    discovery
      discovery schedule “which would
                schedule "which would eliminate the efficiency
                                      eliminate the            advantages that
                                                    efficiency advantages that an
                                                                               an MDL
                                                                                  MDL

 22   provides.”); In
      provides."); In re Enron Corp.
                      re Enron       Sec., Derivative
                               Corp. Sec., Derivative &
                                                      & “ERISA” Litig., 511
                                                        "ERISA" Litig.,     F. Supp.
                                                                        511 F.       2d 742,
                                                                               Supp. 2d 742,

 3
 3    776 (S.D. Tex.
      776 (S.D.      2005) (denying
                Tex. 2005) (denying interlocutory
                                    interlocutory review
                                                  review that
                                                         that would
                                                              would disrupt the orderly
                                                                    disrupt the orderly and
                                                                                        and

 44 efficient
    efficient discovery
              discovery schedule
                        schedule set in aa complex
                                 set in            MDL); In
                                           complex MDL); In re NASDAQ Mkt.
                                                            re NASDAQ Mkt. Makers
                                                                           Makers Antitrust
                                                                                  Antitrust

    Litig., 938
 55 Litig.,     F. Supp.
            938 F.       232, 234-35
                   Supp. 232, 234–35 (S.D.N.Y.
                                     (S.D.N.Y. 1996)
                                               1996) (same);
                                                     (same); In
                                                             In re Air Crash
                                                                re Air Crash Near
                                                                             Near Nantucket
                                                                                  Nantucket

    Island, No.
 66 Island, No. 00-MDL-1344, 2004 WL
                00-MDL-1344, 2004    2269675, at
                                  WL 2269675, at *2 (E.D.N.Y. Oct.
                                                 *2 (E.D.N.Y.      8, 2004)
                                                              Oct. 8, 2004) (denying
                                                                            (denying

    interlocutory review
 77 interlocutory review that
                         that would
                              would not
                                    not dispose
                                        dispose of all actions
                                                of all actions in
                                                               in MDL);
                                                                  MDL); see
                                                                        see also
                                                                            also Melissa
                                                                                 Melissa J.
                                                                                         J.

 8
 8    Whitney, Bellwether Trials
      Whitney, Bellwether Trials in MDL Proceedings:
                                 in MDL Proceedings: A
                                                     A Guide  for Transferee
                                                       Guide for             Judges at
                                                                  Transferee Judges at

    Multidistrict Litig.
 99 Multidistrict Litig. Manual
                         Manual Appendix
                                Appendix II (2019)
                                            (2019) (recommending
                                                   (recommending that
                                                                 that "interlocutory
                                                                      “interlocutory appeal
                                                                                     appeal

10
10    generally should not
      generally should not be
                           be allowed
                              allowed if
                                      if it
                                         it will
                                            will delay
                                                 delay or halt other
                                                       or halt       aspects of
                                                               other aspects    the MDL
                                                                             of the MDL proceeding
                                                                                        proceeding

11
11    or
      or compromise
         compromise efficiency”).
                    efficiency").

12
12          Interlocutory review
            Interlocutory review of
                                 of aa subset
                                       subset of
                                              of causes
                                                 causes of action asserted
                                                        of action asserted by
                                                                           by certain plaintiffs in
                                                                              certain plaintiffs in

13
13    the Governmental
      the              Entities track
          Governmental Entities track will
                                      will make
                                           make coordination between the
                                                coordination between the Governmental
                                                                         Governmental

14
14    Entities and
      Entities and Subrogation
                   Subrogation litigation
                               litigation less
                                          less effective, thwarting the
                                               effective, thwarting the purpose
                                                                        purpose of
                                                                                of coordinating
                                                                                   coordinating

15
15    these proceedings
      these proceedings as
                        as an
                           an MDL.
                              MDL. For
                                   For these
                                       these reasons,
                                             reasons, certification is not
                                                      certification is not appropriate.
                                                                           appropriate. See
                                                                                        See
   Reynoso v.
16 Reynoso
16            All Power
           v. All Power Mfg.
                        Mfg. Co.,
                             Co., No.
                                  No. SACV 16-1037 JVS
                                      SACV 16-1037     (JCGx), 2018
                                                   JVS (JCGx), 2018 WL
                                                                    WL 5906645, at
                                                                       5906645, at

17
17    *6 (C.D. Cal.
      *6 (C.D.      Apr. 30,
               Cal. Apr. 30, 2018)
                             2018) (where
                                   (where interlocutory
                                          interlocutory review
                                                        review will
                                                               will cause
                                                                    cause delay, not expedience,
                                                                          delay, not expedience,

18
18    it should
      it        not be
         should not be granted).
                       granted).

19
19    C.
      C.    Even if this
            Even if      Court Grants
                    this Court Grants Interlocutory
                                      Interlocutory Review,
                                                    Review, the
                                                            the Governmental
                                                                Governmental Entities
                                                                             Entities
            Track
            Track Should
                   Should Proceed.
                           Proceed.
20
20

21
21          Defendants seek
            Defendants seek aa stay without explaining
                               stay without            why that
                                            explaining why that extraordinary and disfavored
                                                                extraordinary and disfavored

22
22    relief is
      relief is appropriate.
                appropriate. Stays are not
                             Stays are not automatic,
                                           automatic, even if interlocutory
                                                      even if interlocutory review
                                                                            review is
                                                                                   is granted. See
                                                                                      granted. See

23
23    28 U.S.C.
      28 U.S.C. §§ 1292(b).
                   1292(b). In
                            In deciding whether to
                               deciding whether to order
                                                   order aa stay
                                                            stay pending interlocutory appeals,
                                                                 pending interlocutory appeals,

24
24    courts traditionally balance
      courts traditionally balance four
                                   four factors:
                                        factors: (1)
                                                 (1) whether
                                                     whether the
                                                             the stay
                                                                 stay applicant
                                                                      applicant has
                                                                                has made
                                                                                    made aa strong
                                                                                            strong

                                                   17
                                                   17
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                             GOVERNMENTAL  ENTITIES’ OPP’N
                                                             GOVERNMENTAL ENTITIES'  OPP'N
                                                          TO
                                                          TO INTERLOCUTORY
                                                             INTERLOCUTORY APPEAL
                                                                           APPEAL && STAY
                                                                                     STAY
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 11   showing that he
      showing that he is
                      is likely
                         likely to
                                to succeed
                                   succeed on the merits;
                                           on the merits; (2)
                                                          (2) whether
                                                              whether the
                                                                      the applicant
                                                                          applicant will
                                                                                    will be
                                                                                         be

    irreparably injured
 22 irreparably injured absent
                        absent aa stay;
                                  stay; (3)
                                        (3) whether
                                            whether issuance
                                                    issuance of the stay
                                                             of the      will substantially
                                                                    stay will               injure
                                                                              substantially injure

    the other
 33 the       parties interested
        other parties interested in
                                 in the
                                    the proceeding;
                                        proceeding; and
                                                    and (4)
                                                        (4) where
                                                            where the
                                                                  the public interest lies.
                                                                      public interest       See
                                                                                      lies. See

    Scallon v.
 44 Scallon    Scott Henry's
            v. Scott Henry’s Winery Corp., No.
                             Winery Corp., No. 6:14-cv-1990-MC, 2015 WL
                                               6:14-cv-1990-MC, 2015 WL 5772107, at *1
                                                                        5772107, at *1

    (D. Or.
 55 (D. Or. Sept. 30, 2015)
            Sept. 30, 2015) (citation
                            (citation omitted). Defendants fail
                                      omitted). Defendants fail to
                                                                to make
                                                                   make any
                                                                        any such
                                                                            such showing and
                                                                                 showing and

 66 should not be
    should not be permitted
                  permitted to
                            to do
                               do so
                                  so on reply, thereby
                                     on reply, thereby depriving Plaintiffs of
                                                       depriving Plaintiffs    an opportunity
                                                                            of an opportunity

    to challenge
 77 to           their arguments.
       challenge their arguments. See
                                  See Zamani
                                      Zamani v. Carnes, 491
                                             v. Carnes,     F.3d 990,
                                                        491 F.3d 990, 997 (9th Cir.
                                                                      997 (9th      2007).
                                                                               Cir. 2007).

 8
 8           None of
             None    these four
                  of these four factors
                                factors weighs
                                        weighs in
                                               in favor
                                                  favor of
                                                        of aa stay. Defendants are
                                                              stay. Defendants     unlikely to
                                                                               are unlikely to

 99 succeed
    succeed on the merits,
            on the merits, as
                           as explained above. And
                              explained above. And although
                                                   although Defendants
                                                            Defendants cannot identify any
                                                                       cannot identify any

10
10    cognizable risk of
      cognizable risk    irreparable harm
                      of irreparable harm absent
                                          absent aa stay,
                                                    stay, each
                                                          each day the unsecure
                                                               day the unsecure vehicle
                                                                                vehicle crisis
                                                                                        crisis

11
11    continues unabated, the
      continues unabated, the communities impacted by
                              communities impacted by this
                                                      this public
                                                           public nuisance
                                                                  nuisance suffer
                                                                           suffer additional
                                                                                  additional

   injuries.24 The
12 injuries.24
12                 issuance of
               The issuance of aa stay
                                  stay would
                                       would undermine
                                             undermine the
                                                       the efficiencies to be
                                                           efficiencies to be gained by an
                                                                              gained by an

13
13

14
14    24
         See, e.g., Andy Banker, Brazen gunmen seen in Central West End in stolen cars, Fox
      24 See, e.g., Andy Banker, Brazen gunmen seen in Central West End in stolen cars, Fox
       22 Now
          Now (Dec.
                 (Dec. 18,
                         18, 2023,
                             2023, 9:08     PM), https://fox2now.com/news/missouri/brazen-gunmen-
                                     9:08 PM),     https://fox2now.com/news/missouri/brazen-gunmen-
15
15      seen-in-central-west-end-in-stolen-cars/
        seen-in-central-west-end-in-stolen-cars/ (reporting(reporting on    heavily armed
                                                                       on heavily      armed gunmen
                                                                                               gunmen in  in St.
                                                                                                             St.
16
16      Louis who
       Louis    who were
                      were in
                            in possession
                               possession of  of aa stolen   Hyundai and
                                                    stolen Hyundai     and subsequently
                                                                             subsequently stolestole aa Kia
                                                                                                        Kia in
                                                                                                             in
        broad daylight);
       broad    daylight); TJ   Dysart, Four
                            TJ Dysart,    Four cars,
                                                  cars, one
                                                        one bicyclist
                                                              bicyclist involved
                                                                         involved in in aa crash
                                                                                           crash onon Cramer
                                                                                                       Cramer andand
17
17      Linnwood in
       Linnwood         Milwaukee that
                     in Milwaukee      that resulted
                                             resulted in   fire, Milwaukee
                                                       in fire,  Milwaukee J.   J. Sentinel   (Dec. 8,
                                                                                   Sentinel (Dec.     8, 2023,
                                                                                                         2023, 1:37
                                                                                                                 1:37
        PM), https://vvvvw.jsonline.com/story/news/crime/2023/12/08/four-cars-involved-in-
       PM),    https://www.jsonline.com/story/news/crime/2023/12/08/four-cars-involved-in-
18
18      fiery-crash-at-cramer-linnwood-in-milwaukee/71849445007/ (reporting
        fiery-crash-at-cramer-linnwood-in-milwaukee/71849445007/                      (reporting that
                                                                                                   that aa Kia
                                                                                                           Kia
        stolen  in Milwaukee
        stolen in  Milwaukee struck
                                  struck aa bicyclist,
                                             bicyclist, aa moving
                                                            moving car,    and two
                                                                     car, and    two parked
                                                                                       parked cars,    with the
                                                                                                cars, with  the
19
19      latter incident
        latter incident resulting
                          resulting in
                                     in aa fire);
                                           fire); Columbus      father lost
                                                  Columbus father      lost toto teen  joyride in
                                                                                 teen joyride       stolen Kia,
                                                                                                 in stolen  Kia,
20
20      Fox 28
       Fox   28 (Nov.
                 (Nov. 29,
                         29, 2023),
                             2023), https://myfox28columbus.com/news/local/driver-struck-teen-
                                       https://myfox28columbus.com/news/local/driver-struck-teen-
        15-year-old-franklin-county-driver-stolen-kia-dies-beacon-hill-hilliard-rome-road-
       15-year-old-franklin-county-driver-stolen-kia-dies-beacon-hill-hilliard-rome-road-
21
21      columbus-ohio-crash-deadly          (reporting that
        columbus-ohio-crash-deadly (reporting             that aa stolen  Kia containing
                                                                  stolen Kia                  four teenagers
                                                                                containing four     teenagers
        crashed   into aa Honda,
        crashed into      Honda, killing     the 36-year-old
                                    killing the   36-year-old driver
                                                                 driver of   the car);
                                                                         of the   car); George
                                                                                         George Gandy,
                                                                                                   Gandy, Teen
                                                                                                            Teen
22
22      charged,   hospitalized after
        charged, hospitalized      after car
                                          car crash
                                                crash in   stolen Kia,
                                                       in stolen   Kia, Rochester
                                                                        Rochester FirstFirst (Nov.
                                                                                             (Nov. 15,
                                                                                                     15, 2023
                                                                                                          2023 4:09
                                                                                                                 4:09
        PM), https://vvvvw.rochesterfirst.com/crime/teen-charged-hospitalized-after-car-crash-
       PM),    https://www.rochesterfirst.com/crime/teen-charged-hospitalized-after-car-crash-
23
23
        in-stolen-kia/ (reporting
        in-stolen-kia/   (reporting that
                                      that aa 15-year-old
                                               15-year-old driving
                                                              driving aa stolen
                                                                          stolen Kia
                                                                                   Kia was
                                                                                        was hospitalized
                                                                                              hospitalized after
                                                                                                              after
24
24      hitting aa utility
       hitting     utility pole
                           pole and
                                 and another
                                      another vehicle,
                                                 vehicle, requiring
                                                            requiring assistance
                                                                       assistance fromfrom the
                                                                                            the Rochester
                                                                                                 Rochester FireFire
        Department and
       Department      and the
                            the electrical
                                 electrical company).
                                              company).
                                                            18
                                                            18
       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                                       GOVERNMENTAL  ENTITIES’ OPP’N
                                                                       GOVERNMENTAL ENTITIES'  OPP'N
                                                                    TO
                                                                    TO INTERLOCUTORY
                                                                       INTERLOCUTORY APPEAL
                                                                                     APPEAL && STAY
                                                                                               STAY
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 1
 1   MDL, as
     MDL, as the
             the Subrogation and Governmental
                 Subrogation and              Entities tracks
                                 Governmental Entities tracks would
                                                              would become
                                                                    become too
                                                                           too

22   asynchronous to
     asynchronous to benefit
                     benefit from
                             from coordinated
                                  coordinated discovery. See In
                                              discovery. See In re Refrigerant Compressors,
                                                                re Refrigerant Compressors,

3
3    2013 WL
     2013 WL 4009023, at *7
             4009023, at    (denying interlocutory
                         *7 (denying interlocutory review
                                                   review and
                                                          and stay
                                                              stay when
                                                                   when doing so would
                                                                        doing so would

 44 eliminate
    eliminate efficiencies from coordinated
              efficiencies from coordinated discovery with other
                                            discovery with other cases
                                                                 cases consolidated in MDL);
                                                                       consolidated in MDL);

    accord In
 55 accord In re Enron Corp.,
              re Enron Corp., 511 F. Supp.
                              511 F.       2d at
                                     Supp. 2d at 776 (where interlocutory
                                                 776 (where interlocutory review
                                                                          review and
                                                                                 and stay
                                                                                     stay

    would obstruct
 66 would          the orderly
          obstruct the         progress of
                       orderly progress of aa complex MDL, it
                                              complex MDL, it should be denied).
                                                              should be denied). The
                                                                                 The same
                                                                                     same

    problem also
 77 problem also would
                 would apply
                       apply to
                             to the
                                the cases brought by
                                    cases brought by other
                                                     other GE Plaintiffs within
                                                           GE Plaintiffs within the
                                                                                the

 8
 8   Governmental Entities track
     Governmental Entities track of the MDL.
                                 of the MDL. Public
                                             Public interest
                                                    interest resoundingly
                                                             resoundingly favors
                                                                          favors the
                                                                                 the

 99 expedient resolution of
    expedient resolution    this public
                         of this public safety
                                        safety crisis, not further
                                               crisis, not further delay.
                                                                   delay.

10
10                                    IV.
                                      IV.    CONCLUSION
                                             CONCLUSION

11
11         Defendants fail
           Defendants      to meet
                      fail to meet their
                                   their burden
                                         burden under
                                                under 28
                                                      28 U.S.C.
                                                         U.S.C. §§ 1292(b),
                                                                   1292(b), and
                                                                            and the
                                                                                the Court
                                                                                    Court

12
12   should
     should deny their motion
            deny their motion in
                              in its
                                 its entirety. Defendants have
                                     entirety. Defendants have not
                                                               not met
                                                                   met any
                                                                       any of
                                                                           of the
                                                                              the requirements
                                                                                  requirements

13
13   for interlocutory
     for interlocutory review,
                       review, have
                               have not
                                    not proffered
                                        proffered any
                                                  any explanation for why
                                                      explanation for why that
                                                                          that extraordinary
                                                                               extraordinary

14
14   relief should
     relief        be available
            should be available here,
                                here, and
                                      and have
                                          have not
                                               not even referenced—let alone
                                                   even referenced—let alone satisfied—the
                                                                             satisfied—the

15
15   applicable standard
     applicable          for the
                standard for the issuance
                                 issuance of
                                          of aa stay. Meanwhile, more
                                                stay. Meanwhile, more tragic
                                                                      tragic and
                                                                             and preventable
                                                                                 preventable

16
16   incidents are
     incidents are mounting
                   mounting by
                            by the
                               the day, harming the
                                   day, harming the Governmental Entities.
                                                    Governmental Entities.

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17
     Dated this
     Dated this 29TH
                29TH day
                     day of December, 2023.
                         of December, 2023.
18
18                                          Respectfully submitted,
                                            Respectfully submitted,
19
19
                                             By /s/
                                             By /s/ Gretchen  Freeman Cappio
                                                    Gretchen Freeman   Cappio
20
20                                            Gretchen   Freeman Cappio
                                              Gretchen Freeman           (pro hac
                                                                  Cappio (pro hac vice)
                                                                                  vice)
                                              KELLER ROHRBACK
                                              KELLER     ROHRBACK L.L.P.
                                                                       L.L.P.
21
21                                            1201 Third
                                              1201         Avenue, Suite
                                                     Third Avenue,       3200
                                                                   Suite 3200
                                              Seattle,
                                              Seattle, WA
                                                        WA 98101-3052
                                                            98101-3052
22
22                                            Phone: (206)
                                              Phone:   (206) 623-1900
                                                             623-1900
                                              Fax: (206)
                                              Fax:  (206) 623-3384
                                                          623-3384
23
23                                            gcappio@kellerrohrback.com
                                              gcappio@kellerrohrback.coin

24
24                                           Chair of
                                             Chair of the
                                                      the Governmental Entities Committee
                                                          Governmental Entities Committee
                                                  19
                                                  19
      NO. 8:22-ML-03052-JVS-KES
      NO. 8:22-ML-03052-JVS-KES                             GOVERNMENTAL  ENTITIES’ OPP’N
                                                            GOVERNMENTAL ENTITIES'  OPP'N
                                                         TO
                                                         TO INTERLOCUTORY
                                                            INTERLOCUTORY APPEAL
                                                                          APPEAL && STAY
                                                                                    STAY
      Case 8:22-ml-03052-JVS-KES Document 285 Filed 12/29/23 Page 26 of 27 Page ID
                                       #:8101



 1
 1                            CERTIFICATE OF
                              CERTIFICATE    COMPLIANCE
                                          OF COMPLIANCE

22          The undersigned, Chair
            The undersigned, Chair of the Governmental
                                   of the              Entities Committee,
                                          Governmental Entities Committee, certifies that
                                                                           certifies that

3
3     this brief
      this brief complies with the
                 complies with the word
                                   word limit
                                        limit of L.R. 11-6.1.
                                              of L.R. 11-6.1.

 44
                                             /s/ Gretchen
                                             /s/          Freeman Cappio
                                                 Gretchen Freeman Cappio
 55                                          GRETCHEN      FREEMAN CAPPIO
                                             GRETCHEN FREEMAN        CAPPIO
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       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                            GOVERNMENTAL  ENTITIES’ OPP’N
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                                                         TO
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                                                            INTERLOCUTORY APPEAL
                                                                          APPEAL && STAY
                                                                                    STAY
      Case 8:22-ml-03052-JVS-KES Document 285 Filed 12/29/23 Page 27 of 27 Page ID
                                       #:8102



 1
 1                                  CERTIFICATE OF
                                    CERTIFICATE OF SERVICE
                                                   SERVICE

22             II certify that on
                  certify that    December 29,
                               on December 29, 2023,
                                               2023, II electronically filed the
                                                        electronically filed the foregoing
                                                                                 foregoing document
                                                                                           document

3
3     with the
      with the Clerk
               Clerk of the Court
                     of the       using the
                            Court using the CM/ECF
                                            CM/ECF system which will
                                                   system which will send notification of
                                                                     send notification of

 44 such filing to
    such filing to all
                   all counsel of record.
                       counsel of record.

 55
                                               /s/ Gretchen
                                               /s/          Freeman Cappio
                                                   Gretchen Freeman Cappio
 66                                            GRETCHEN      FREEMAN CAPPIO
                                               GRETCHEN FREEMAN        CAPPIO
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 8
 8    4855-4631-1830, v. 24


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       NO. 8:22-ML-03052-JVS-KES
       NO. 8:22-ML-03052-JVS-KES                               GOVERNMENTAL  ENTITIES’ OPP’N
                                                               GOVERNMENTAL ENTITIES'  OPP'N
                                                            TO
                                                            TO INTERLOCUTORY
                                                               INTERLOCUTORY APPEAL
                                                                             APPEAL && STAY
                                                                                       STAY
